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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

RAY LEON;
RICHARD INZA;
MICHAEL INZA;                                      CIVIL ACTION NO.
individually and on behalf of themselves and
all others similarly situated;                     JURY TRIAL DEMANDED
Plaintiffs,
v.
AT&T, INC.;
AT&T CORPORATION;
AT&T SERVICES, INC.;
SCOTT T. FORD;
GLENN H. HUTCHINS;
WILLIAM E. KENNARD;
STEPHEN J. LUCZO;
MARISSA A. MAYER;
DAVID R. MCATEE II;
MICHAEL B. MCCALLISTER;
BETH E. MOONEY;
MATTHEW K. ROSE;
JOHN STANKEY;
CYNTHIA B. TAYLOR;
LUIS A. UBIÑAS;

T-MOBILE USA, INC.;
ANDRÉ ALMEIDA;
MARCELO CLAURE;
SRIKANT M. DATAR;
SRINIVASAN GOPALAN;
TIMOTHEUS HÖTTGES;
DR. CHRISTIAN P. ILLEK;
JAMES J. KAVANAUGH;
RAPHAEL KÜBLER;
THORSTEN LANGHEIM;
DOMINIQUE LEROY;
LETITIA A. LONG;
MARK NELSON;
MIKE SIEVERT;
TERESA A. TAYLOR;
KELVIN R. WESTBROOK;

DEUTSCHE TELEKOM AG;
TIMOTHEUS HÖTTGES;
DR. FERRI ABOLHASSAN;
BIRGIT BOHLE;
SRINI GOPALAN;



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CHRISTIAN P. ILLEK;
THORSTEN LANGHEIM;
DOMINIQUE LEROY;
CLAUDIA NEMAT;

VERIZON COMMUNICATIONS, INC.;
CELLCO PARTNERSHIP dba VERIZON
WIRELESS;
VERIZON SERVICES, CORP.;
VERIZON BUSINESS NETWORK
SERVICES, INC.;
VITTORIO COLAO;
SHELLYE L. ARCHAMBEAU;
MARK T. BERTOLIN;
ROXANNE S. AUSTIN;
MELANIE L. HEALEY;
LAXMAN NARASIMHAN;
CLARENCE OTIS, JR.;
DANIEL H. SCHULMAN;
RODNEY E. SLATER;
CAROL B. TOMÉ;
VANDANA VENKATESH
HANS VESTBERG;
GREGORY G. WEAVER;

Defendants.


                       COMPLAINT-CLASS ACTION




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                                               PREAMBLE


1.   AT&T, Verizon, T-Mobile, and Deutsche Telekom (Deutsche Telekom is the majority

     shareholder of T-Mobile US) (the “Defendants”) have systematically violated antitrust laws for

     over six years by deliberately withholding standalone Wi-Fi calling and mobile data services.

     Their anticompetitive practices—including tying arrangements, forced sales, and predatory

     pricing—have allowed them to maintain oligopolistic control over 97% of the U.S. smartphone

     mobile market. This deliberate conduct has definitively harmed the General Subscribers Class

     encompassing approximately 373 million major carrier subscribers.

2.   The General Subscribers Class, represented by Ray Leon (AT&T), Richard Inza (Verizon), and

     Michael Inza (T-Mobile), have suffered from barriers to entry, restraint of trade, monopolistic

     practices, and fraudulent misrepresentation. The Defendants’ unauthorized use of a competitor’s

     patented technology has exacerbated these antitrust violations, actively suppressing competition

     in the telecommunications industry.

3.   The Defendants have implemented a comprehensive anticompetitive bundling strategy by tying

     Wi-Fi calling and mobile data services to cellular calling and texting services. This practice has

     effectively prevented the emergence of standalone Wi-Fi calling and mobile data markets, despite

     the clear technical feasibility of offering such services separately. Their bundling strategy serves

     to maintain the Defendants’ market power and inflated pricing structures, violating Section 1 of

     the Sherman Act (unreasonable restraint of trade) and Section 3 of the Clayton Act (exclusive

     dealing and tying).



                                            INTRODUCTION


4.   This Class Action Antitrust case is unprecedented, with evidence of antitrust violations by AT&T,


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     Verizon, T-Mobile, and Deutsche Telekom being not only compelling but overwhelming. These

     Defendants, who control a staggering 373 million major carrier subscribers and 97% of the U.S.

     mobile market, have systematically violated antitrust laws by refusing to unbundle Wi-Fi calling

     and mobile data services from their cellular offerings, thereby maintaining an unlawful

     stranglehold on the market.

5.   The significance of this case is underscored by its strong parallels to landmark antitrust cases,

     such as United States v. Google LLC and United States v. Microsoft Corp. However, this case

     extends beyond those precedents, involving violations of both Sherman Act Sections 1 and 2, and

     Clayton Act Sections 2, 3, and 7 by all four Defendants. The breadth and severity of these

     violations reveal a calculated effort to monopolize the market and suppress competition far

     beyond what was seen in the Google and Microsoft cases.

6.   The Plaintiffs will demonstrate that the Defendants’ strategy of bundling Wi-Fi calling and

     mobile data services with cellular services is an egregious violation of antitrust laws. This practice

     not only mirrors but magnifies the anticompetitive behaviors condemned in the Google and

     Microsoft cases, as it builds a monopolistic barrier that stifles innovation, inflates consumer costs,

     and obliterates potential market entry for competitors.

7.   By filing this case in the District of Columbia, the same jurisdiction that delivered pivotal rulings

     in the Microsoft and Google cases, the Plaintiffs seeks to compel the Court to once again

     champion consumer rights and fair competition. The Defendants’ conduct offers the Court a

     unique opportunity to redefine corporate accountability in an era where digital and

     telecommunications monopolies threaten to undermine the very principles of free market

     competition.




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               1. Comparative Analysis: Defendants’ Antitrust Violations Aligned with Five

                   Landmark Precedent Cases

8.   The anticompetitive practices of the Defendants demonstrate a comprehensive and systematic

     violation of antitrust laws, which not only mirror but extend beyond the breaches identified in

     five landmark precedent cases. Below is a detailed comparison of these practices against each

     precedent case, highlighting the Defendants’ violations and their alignment with the unlawful

     conduct condemned in these rulings.

9.   This Class Action Antitrust case is strongly supported by precedent antitrust cases, including:

               United States v. Microsoft Corp. (2001).

                   1. Court: U.S. Court of Appeals, D.C. Circuit.

                   2. Exclusionary Dealings and Agreements: Just as Microsoft was found guilty

                      of using exclusionary practices to maintain its monopoly by tying its web

                      browser to the Windows operating system, the Defendants have engaged in

                      similar exclusionary dealings by bundling Wi-Fi calling and mobile data

                      services with cellular services. This violates Sherman Act Section 1 and

                      Clayton Act Section 3, as these actions unreasonably restrain trade and limit

                      competition.

                   3. Monopolistic Practices: The Defendants’ conduct parallels Microsoft’s

                      monopolistic control over the PC operating systems market, with the

                      Defendants using their dominant position to suppress competition and

                      maintain market control, violating Sherman Act Section 2.

               United States v. Google LLC (2020, ongoing).

                   1. Court: U.S. District Court, District of Columbia.




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    2. Collusive Behavior: The collusion between the Defendants to not offer

       standalone services echoes Google’s exclusionary agreements in the search

       and search advertising markets, violating Sherman Act Section 1 and

       Clayton Act Section 7. This case highlights how modern tech giants can

       maintain market dominance through concerted efforts, similar to the

       Defendants’ coordinated refusal to unbundle services.

    3. Tying Arrangements: Like Google’s exclusionary practices, the Defendants’

       tying arrangements force consumers into bundled services, violating Sherman

       Act Section 1 and Clayton Act Section 3.

 Northern Pacific Railway Co. v. United States (1958).

    1. Court: U.S. Supreme Court.

    2. Tying Arrangements: This Supreme Court ruling established that tying

       arrangements are per se illegal under Sherman Act Section 1. The

       Defendants’ bundling of Wi-Fi calling and mobile data with cellular services

       is directly comparable, as it limits consumer choice and stifles competition,

       echoing the unlawful tying condemned in this case.

    3. Forced Sales: The Defendants’ forced sales tactics, where consumers are

       compelled to purchase bundled services, also reflect the anti-competitive

       behavior identified in the Northern Pacific Railway case, violating Sherman

       Act Section 1 and Clayton Act Section 3.

 Eastman Kodak Co. v. Image Technical Services, Inc. (1992).

    1. Court: U.S. Supreme Court.




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                   2. Exclusionary Dealings and Forced Sales: The Supreme Court in this case

                       ruled that Kodak’s tying of replacement parts to its repair services was

                       anticompetitive, even without initial monopoly power. Similarly, the

                       Defendants’ exclusionary dealings and forced sales practices harm

                       competition and restrict consumer choice, violating Sherman Act Section 1

                       and Clayton Act Section 3.

                   3. Predatory Pricing: The Defendants’ use of predatory pricing to eliminate

                       potential competition mirrors Kodak’s restrictive practices, violating

                       Sherman Act Section 2 and Clayton Act Section 2 (Robinson-Patman

                       Act).

               United States v. Apple Inc. (e-books case) (2013).

                   1. Court: U.S. Court of Appeals, Second Circuit.

                   2. Collusive Behavior: Apple was found guilty of conspiring with publishers to

                       raise e-book prices, a form of collusive behavior. The Defendants’ collusion

                       to suppress standalone services reflects a similar violation of Sherman Act

                       Section 1 and Clayton Act Section 7.

                   3. Monopolistic Practices: The collusion and resultant monopolistic practices

                       seen in the Apple case are paralleled by the Defendants’ actions, which seek

                       to preserve their oligopoly and suppress competition, violating Sherman Act

                       Section 2.

               2. An Urgent Call for Judicial Intervention

10.   The Plaintiffs will demonstrate throughout the pleading the Defendants’ anticompetitive

      practices, including exclusionary dealings, collusive behavior, monopolistic practices, tying




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      arrangements, forced sales, predatory pricing, and the impacts of recent mergers and acquisitions,

      not only replicate but exceed the breaches identified in these five precedent cases.

11.   This landmark case transcends mere legal precedent, igniting a seismic shift in the balance of

      power between corporate titans and consumers. Its impact is staggering, with millions of

      American subscribers poised for immediate change, while a colossal 7.4 billion people worldwide

      await the aftershocks. The potential for affordable standalone Wi-Fi calling could revolutionize

      global communication, bridging divides and democratizing connectivity on an unprecedented

      scale. This isn’t just a courtroom battle; it’s a watershed moment that could redefine how nearly

      every person on Earth connects and communicates, marking a pivotal chapter in the annals of

      consumer rights and corporate accountability.




      Source: GSMA Intelligence, International Telecommunication Union (ITU)


12.   These anticompetitive practices are clearly demonstrated as parallel dealings to the five precedent

      cases, where court decisions have consistently condemned such behavior. The Court now faces

      an unprecedented opportunity to address these violations by holding the Defendants accountable



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      under the Sherman and Clayton Acts. By doing so, the Court can restore balance to the

      telecommunications market, protect consumer rights, and set a global precedent for antitrust

      enforcement in the digital age. The Defendants’ actions must be met with a decisive ruling that

      not only rectifies the specific harms in this case but also deters future anticompetitive behavior,

      ensuring that even the largest corporations adhere to the principles of fair competition.

            A. Technical Feasibility of Standalone Wi-Fi Calling

13.   The Defendants have engaged in a calculated scheme to deprive consumers of choice by forcing

      them to purchase unnecessary cellular services to access Wi-Fi calling. This predatory bundling

      strategy constitutes an illegal tying arrangement, flagrantly violating antitrust laws. Despite Wi-

      Fi calling being technologically independent of cellular services, the Defendants have cynically

      presented it as a “feature” of their plans, masking its potential as a standalone, cost-effective

      service. This deception allows them to maintain inflated prices while creating an illusion of added

      value. In reality, the primary beneficiaries are the Defendants themselves, who use Wi-Fi calling

      to offload network traffic and improve coverage without incurring additional infrastructure costs.

14.   This anti-competitive behavior not only harms consumers through artificially high prices but also

      stifles long-term innovation in the telecommunications industry. By suppressing the market for

      standalone Wi-Fi calling services, the Defendants are actively hindering the evolution of more

      diverse, flexible, and cost-effective communication solutions. Their actions represent a clear

      strategy to limit consumer choice, maintain market dominance, and protect outdated business

      models at all costs. Swift judicial intervention is necessary to halt these practices, restore genuine

      competition, and safeguard consumer interests in the telecommunications market.

15.   There are no technical barriers preventing the Defendants from offering Wi-Fi calling and texting

      as a standalone service separate from cellular calling and texting. This practice has effectively



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      prevented the emergence of standalone Wi-Fi calling and mobile data markets, despite the

      technical feasibility of such services. The bundling strategy served to maintain the Defendants’

      market power and pricing structures violating Section 1 of the Sherman Act and Section 3 and 7

      of the Clayton Act.

16.   Protocol Independence: Wi-Fi calling uses Voice over Internet Protocol (VoIP) technology,

      operating independently of cellular network protocols.

17.   Infrastructure Autonomy: Core network elements for Wi-Fi calling function separately from

      cellular infrastructure, allowing standalone operation.

18.   Device-Level    Implementation:      Smartphones      have   distinct   components   for   Wi-Fi

      communications and cellular communications, enabling Wi-Fi calling and texting without

      cellular connectivity – a practice encouraged during international travel.

19.   Network Agnosticism: Wi-Fi calling operates on any IP network, independent of specific carrier

      networks, as evidenced by its use during international travel.

20.   Over-the-Top (OTT) Precedent: Existing OTT VoIP applications and softphone

      implementations conclusively prove the viability of standalone Wi-Fi calling.

21.   Regulatory Compliance: E911 services for Wi-Fi calling can be provided without relying on

      cellular location services, addressing key regulatory requirements.

22.   The preponderance of evidence unequivocally supports the technical feasibility of offering Wi-

      Fi calling as a standalone service. Every critical component of Wi-Fi calling, from network

      protocols to device implementation, functions independently of cellular systems. The

      Defendants’ bundling of Wi-Fi calling with cellular services is thus a deliberate strategy to

      maintain market control, not a technical necessity.




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             B. Refuting Defendants’ Claims Technical Infeasibility of Standalone Wi-Fi Calling

                 and Texting Services

23.   The Defendants consciously chose to keep Wi-Fi calling tied to cellular and texting services,

      understanding that separating these offerings could disrupt their current pricing structure. By

      maintaining the bundle, they effectively discouraged subscribers from choosing a standalone Wi-

      Fi calling service, which would have been available at a much lower cost.

24.   Existing VoIP Services: Companies like Google Voice, Skype, TextNow, and WhatsApp already

      offer standalone calling and texting services that operate over Wi-Fi, proving its technical

      feasibility.

25.   Technical Capability of Defendants: AT&T, Verizon, T-Mobile, and Deutsche Telekom

      possess superior telecommunications infrastructure and are currently able to support Wi-Fi

      calling when cellular service is unavailable.

26.   Antitrust Implications: The Defendants’ bundling practices clearly violate Section 1 of the

      Sherman Act, which prohibits contracts, combinations, or conspiracies in restraint of trade. By

      tying Wi-Fi calling to cellular services, they engage in anticompetitive behavior designed to

      maintain their oligopolistic control over 97% of the U.S. smartphone mobile market.

27.   Profit Motivation: The Defendants’ refusal to offer standalone Wi-Fi calling services protects

      their bundled sales and profits. This profit-driven strategy comes at the expense of consumer

      choice and affordability, particularly harming lower-income consumers who could benefit from

      more flexible, cost-effective options.

             C. Business Feasibility of Standalone Wi-Fi Calling

28.   The Defendants strategically integrated Wi-Fi calling and texting with cellular calling and texting

      services, fully aware that offering Wi-Fi calling as a standalone service would undermine their



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      business model. By bundling these services, they sought to maintain higher subscription rates and

      prevent subscribers from opting for a more cost-effective, standalone Wi-Fi calling option.

29.   Protecting Core Revenue: Standalone Wi-Fi calling would cannibalize profits from traditional

      voice and texting plans.

30.   Maintaining ARPU: Bundling ensures customers continue paying for expensive full-service

      packages.

31.   Preventing Competition: Limiting standalone services inhibits potential competitors

      specializing in Wi-Fi calling.

32.   Resisting Commoditization: Bundling preserves carriers’ market power and brand value.

33.   These practices prioritize profit maximization over providing customers with flexible, affordable

      options, effectively limiting consumer choice to maintain current business models and revenue

      streams.

            D. Wi-Fi Calling Business Feasibility and Antitrust Concerns

34.   The Defendants maintained their service bundles, combining Wi-Fi calling and texting with

      cellular calling and texting, as a strategic decision to safeguard their revenue streams. The

      Defendants were fully aware that offering Wi-Fi calling separately would lead to a potential

      exodus of subscribers from the more expensive bundled services.

35.   Illegal tying arrangement (Sherman Act, Section 1).

36.   Attempt to monopolize (Sherman Act, Section 2).

37.   Exclusive dealing (Clayton Act, Section 3).

38.   Creation of barriers to entry for potential competitors.

39.   This practice leverages market power in cellular services to control the Wi-Fi calling market,

      limiting consumer choice and stifling innovation. The bundling strategy lacks pro-competitive



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      justification and constitutes an unfair method of competition (FTC Act, Section 5).

             E. Technical Feasibility of Standalone Mobile Data

40.   The Defendants implemented an anticompetitive bundling strategy by tying mobile data to

      cellular calling and texting services. This practice effectively prevented the emergence of a

      standalone mobile data market, despite the technical feasibility of offering such a service. The

      bundling strategy served to maintain the Defendants’ market power and pricing structures,

      violating Section 1 of the Sherman Act and Section 3 of the Clayton Act.

41.   Major carriers face no technical barriers in offering standalone mobile data services:

42.   Network Architecture: 4G LTE and 5G networks are IP-based, separating voice, text, and data

      traffic.

43.   VoLTE and IMS: Voice calls are now data transmissions over LTE or 5G networks.

44.   Existing Precedents: a) Data-only plans for tablets and IoT devices, b) MVNO offerings of data-

      centric plans, and c) International data-only roaming packages.

45.   Enabling Technologies: a) eSIM for flexible service provisioning, b) 5G network slicing for

      dedicated data-only services, and c) SDN and NFV for versatile service configurations.

46.   These factors conclusively demonstrate the technical and operational feasibility of providing

      standalone mobile data services, separate from cellular calling and texting.

             F. Refuting Defendants’ Claims Technical Infeasibility of Standalone Mobile Data

                  Services

47.   Through the integration of mobile data with cellular calling and texting services, the Defendants

      engaged in exclusionary conduct that foreclosed potential competition in the mobile data market.

      The Defendants outright refusal to offer standalone services has the effect of deterring millions

      of subscribers from opting for a more cost-effective mobile data solution that could have been


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      offered, thereby maintaining the Defendants’ monopoly power in violation of Section 2 of the

      Sherman Act.

48.   Technical Feasibility: Numerous companies already offer standalone mobile data services.

      AT&T, Verizon, T-Mobile, and Deutsche Telekom possess superior infrastructure, demonstrating

      clear capability. Existing data-only services for tablets and hotspots prove technical feasibility for

      smartphones.

49.   Business Motivations for Bundling: Higher revenue per user through bundled services. Reduced

      competition and customer churn. Maintenance of profit from legacy voice and SMS services.

      Control over communication channels and user data.

50.   Impact on Consumers: Limited choice and affordability. Particularly harms lower-income

      consumers and data-centric users. Prevents use of mobile data as primary internet connection in

      areas with limited broadband.

51.   The Defendants’ refusal to offer standalone mobile data is clearly a business strategy to maintain

      market control and profitability, not a technical limitation. This practice prioritizes carrier

      interests over consumer benefits and market competition.

            G. Mobile Data Business Feasibility and Antitrust Concerns

52.   The Defendants leveraged their dominant position in the cellular service market to control the

      emerging mobile data technology. By bundling mobile data with traditional cellular services, they

      effectively stifled the development of a separate mobile data market. This conduct raises

      significant antitrust concerns under both the Sherman and Clayton Acts, as it may substantially

      lessen competition and tend to create a monopoly in the evolving telecommunications landscape.

53.   Illegal tying arrangement (Sherman Act, Section 1).

54.   Attempt to monopolize (Sherman Act, Section 2).



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55.   Exclusive dealing (Clayton Act, Section 3).

56.   Unfair methods of competition (FTC Act, Section 5).

57.   Bundling practices by dominant mobile carriers create significant barriers to entry for potential

      data-only service providers, effectively limiting consumer choice, especially for users who

      primarily rely on mobile data. By forcing consumers into full-service packages that include

      services they may not need, these practices stifle innovation in the mobile data sector,

      discouraging the development of specialized, data-centric solutions that could better meet

      consumer demands. Moreover, such bundling allows carriers to engage in price discrimination

      and cross-subsidization, which can further entrench their market power, reduce competition, and

      restrict the availability of more affordable and tailored service options for consumers.

58.   This practice leverages carriers’ dominance in voice services to control the mobile data market,

      lacking pro-competitive justification and violating antitrust laws’ intent to promote consumer

      welfare and fair competition.

            H. Both Wi-Fi Calling and Mobile Data Standalone Services Must Be Provided -

                Subscribers Are Being Gouged!

59.   The Defendants strategically integrated Wi-Fi calling and mobile data with cellular calling and

      texting services, fully aware that offering these services separately would undermine their

      business model. By bundling, they sought to maintain higher subscription rates and prevent

      subscribers from opting for more cost-effective, standalone options.

60.   The Defendants consciously chose to keep Wi-Fi calling and mobile data tied to cellular and

      texting services, understanding that separating these offerings could disrupt their current pricing

      structure. By maintaining the bundle, they effectively discouraged subscribers from choosing

      standalone services, which would have been available at a lower cost.



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61.    The Defendants’ refusal to offer standalone Wi-Fi calling and mobile data services constitutes

       clear antitrust violations:

      Sherman Act Violations:
62.    Section 1: Tying arrangements forcing bundled purchases

63.    Section 2: Monopolization of Wi-Fi calling and mobile data markets

      Clayton Act Violations:
64.    Section 3: Exclusive dealing arrangements lessening competition

65.    Bundling practices in the mobile services industry result in inflated prices, reducing affordability

       and flexibility for consumers, particularly harming lower-income individuals who are less able to

       bear the cost. These practices limit consumer choice by forcing customers to purchase

       comprehensive packages rather than selecting services that meet their specific needs.

       Additionally, such bundling stifles innovation and prevents new competitors from entering the

       market, thereby reducing the overall dynamism and competitiveness of the telecommunications

       sector.

66.    The Defendants’ actions are purely profit-driven, prioritizing corporate gains over consumer

       welfare and technological progress. Their 97% market control allows them to artificially maintain

       high prices and restrict options.

67.    The Court must compel the Defendants to offer standalone Wi-Fi calling and mobile data services

       to restore fair competition and protect consumer interests in the telecommunications market.



            UNIFIED ANALYSIS: DRAWING PARALLELS BETWEEN THE GOOGLE

             ANTITRUST DECISION AND THE VOIP-PAL ANTITRUST COMPLAINT


              A. Introduction

68.    In both the ongoing United States v. Google LLC antitrust case and the Antitrust Class Action



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      complaint, defining the relevant market is central to understanding the alleged anticompetitive

      practices. Market definition plays a crucial role in determining the scope of monopolistic behavior

      and the potential harm to competition and consumers.

69.   In the Google case, the relevant market has been defined as the online search and search

      advertising markets. Google’s dominance in these markets, through its extensive control over

      search engine results and the advertising ecosystem, is at the heart of the U.S. government’s case.

      The argument is that Google has maintained and extended its monopoly by engaging in

      exclusionary practices, effectively stifling competition and harming consumers.

70.   Similarly, in the Antitrust Class Action complaint, the relevant markets include Wi-Fi calling

      services, mobile data services, and their bundling with cellular calling and texting for smartphone

      subscribers. The complaint alleges that major telecommunications providers, including AT&T,

      Verizon, T-Mobile, and Deutsche Telekom, have conspired to monopolize these markets by

      bundling Wi-Fi calling and mobile data services with traditional cellular calling and texting,

      thereby preventing the emergence of standalone services and stifling competition. The case also

      highlights the providers’ use of exclusionary practices and predatory pricing to maintain their

      dominant market positions, further limiting consumer choice and innovation.

71.   Both cases involve significant breaches of key antitrust laws, specifically the Clayton Act and the

      Sherman Act:

72.   Section 2 of the Sherman Act: This section addresses monopolization, attempted

      monopolization, and conspiracy to monopolize. Both Google and the telecommunications

      providers are accused of engaging in practices designed to maintain or achieve monopoly power,

      thereby restricting competition in their respective markets. The Antitrust Class Action complaint

      specifically argues that the bundling of Wi-Fi calling and mobile data with traditional cellular




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      services, along with exclusionary practices and predatory pricing, are clear examples of this

      unlawful behavior.

73.   Section 1 of the Sherman Act: This section prohibits contracts, combinations, or conspiracies

      that unreasonably restrain trade. The Antitrust Class Action complaint alleges that the

      telecommunications providers’ bundling practices constitute an unreasonable restraint of trade by

      effectively forcing consumers to purchase services they may not need, thereby limiting

      competition from standalone service providers.

74.   Section 7 of the Clayton Act: This section prohibits mergers and acquisitions where the effect

      may be substantially to lessen competition or to tend to create a monopoly. In the Google case,

      the government’s argument extends to the company’s practices that reinforce its monopoly in the

      search market. For the Antitrust Class Action complaint, the focus is on the impact of recent

      telecommunications mergers and acquisitions, including T-Mobile’s purchase of Sprint and the

      latest acquisitions by the Defendants of numerous Mobile Virtual Network Operators (MVNOs).

      These acquisitions have further consolidated market power, diminished competition, and

      restricted consumer choices in the markets for Wi-Fi calling, mobile data, and traditional cellular

      services.

75.   These cases exemplify how dominant market players can use their positions to engage in practices

      that undermine competition, violate antitrust laws, and harm consumers. The outcome of these

      cases will have far-reaching implications for how monopolistic behavior is addressed and

      regulated in both the digital and telecommunications sectors.

            B. Enhanced Comparison to Google LLC Antitrust Decision

76.   The Google decision serves as a critical precedent in addressing monopolistic practices within

      the digital realm, emphasizing the court’s proactive stance against exclusionary tactics that stifle



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      competition. In a manner strikingly similar to Google’s actions, the Defendants in the Antitrust

      Class Action case have employed bundling strategies to entrench their dominance in the

      telecommunications market, thereby suppressing innovation and severely limiting consumer

      choice.

77.   In the Google case, the court identified the harmful effects of exclusionary agreements that

      prevented competitors from gaining a meaningful foothold in the market. Similarly, the

      Defendants here have bundled Wi-Fi calling and mobile data with cellular services, effectively

      eliminating the possibility of a competitive standalone market for these services. This practice

      not only mirrors the anti-competitive behavior condemned in the Google ruling but also

      exacerbates the situation by targeting essential services used daily by millions of consumers.

78.   Specific Consumer Harm: The Defendants’ actions have led to inflated costs for consumers,

      who are forced to pay for bundled services they may not need or want. This practice particularly

      disadvantages low-income populations, who are deprived of more affordable communication

      options that could otherwise be available through standalone Wi-Fi calling or mobile data

      services. For instance, if standalone services were available, consumers could save an estimated

      X% per month, a significant financial relief that is currently being denied.

79.   Anticipating Counterarguments: The Defendants might argue that bundling enhances service

      quality or is a standard industry practice. However, this justification falls flat when considering

      the broader market impact. Bundling artificially inflates prices and restricts consumer choice,

      with no substantial benefit to the consumer that outweighs the competitive harm. The Google

      decision rejected similar justifications, recognizing them as thinly veiled attempts to maintain

      market dominance.

80.   Broader Implications: A ruling in favor of the Plaintiff would not only rectify the specific




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      competitive harms in this case but also set a precedent for future antitrust enforcement in the

      telecommunications and technology sectors. Just as the Google decision reshaped the landscape

      for digital markets, this case offers the court an opportunity to establish critical protections for

      consumers and competitors in an increasingly monopolized industry.

81.   The parallels between the Defendants’ conduct in this case and the practices condemned in the

      Google decision are not just coincidental but indicative of a broader pattern of anticompetitive

      behavior that demands judicial intervention. By applying the same rigorous antitrust principles

      from the Google case, the court can restore fair competition in the telecommunications market

      and protect consumer interests.

82.   These anticompetitive practices are clearly demonstrated as parallel dealings to the five precedent

      cases, where court decisions have consistently condemned such behavior. The Court now faces

      an unprecedented opportunity to address these violations by holding the Defendants accountable

      under the Sherman and Clayton Acts. By doing so, the Court can restore balance to the

      telecommunications market, protect consumer rights, and set a global precedent for antitrust

      enforcement in the digital age. The Defendants’ actions must be met with a decisive ruling that

      not only rectifies the specific harms in this case but also deters future anticompetitive behavior,

      ensuring that even the largest corporations adhere to the principles of fair competition.



                                    STATEMENT OF GRIEVANCES


83.   The Defendants, AT&T, Verizon, T-Mobile, and Deutsche Telekom, have systematically

      deprived consumers of choice by forcing millions to purchase unnecessary cellular services to

      access Wi-Fi calling. This predatory bundling strategy constitutes an illegal tying arrangement,

      flagrantly violating antitrust laws. Although Wi-Fi calling is technologically independent of



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      cellular services, the Defendants have deceptively marketed it as a “feature” of their bundled

      plans, concealing its potential as a standalone, cost-effective service. This deceitful practice

      enables the Defendants to maintain inflated prices, creating an illusion of added value while

      primarily benefiting themselves by offloading network traffic and improving coverage without

      incurring additional infrastructure costs.

84.   This anti-competitive behavior not only harms consumers by imposing artificially high prices but

      also stifles long-term innovation in the telecommunications industry. By suppressing the market

      for standalone Wi-Fi calling services, the Defendants actively hinder the evolution of more

      diverse, flexible, and cost-effective communication solutions. Their actions are a clear attempt to

      limit consumer choice, maintain market dominance, and protect outdated business models at all

      costs.

85.   For over six years, these Defendants have exploited their market dominance by forcing millions

      of consumers into costly bundled services, disproportionately affecting several vulnerable

      populations. Among those disadvantaged groups are approximately 37.9 million people living in

      poverty in the U.S. as of 2022, who are particularly burdened by rising costs of essential services,

      making it increasingly difficult for them to afford inflated prices tied to these bundles.

86.   The elderly, numbering about 54 million in 2023, many of whom live on fixed incomes, face

      challenges with both affordability and the complexity of bundled mobile service packages that

      often include unnecessary features. The chronically ill, with six in ten adults in the U.S. having a

      chronic disease and four in ten having two or more, require reliable communication for healthcare

      needs but are vulnerable to the high costs and limitations of bundled services.

87.   Residents of nursing homes and assisted living facilities, which include approximately 1.3 million

      people in nursing homes and 800,000 in assisted living facilities, often have limited autonomy




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      and could benefit greatly from standalone Wi-Fi services, as they live in and rarely, if ever, leave

      facilities equipped with Wi-Fi connectivity, offering a potential for significant savings.

      Economically disadvantaged families, with 11.6% of U.S. families living below the poverty line

      in 2022, struggle to manage high costs and inflexible service options, which exacerbates their

      financial difficulties.

             A. Key Issues

88.   The fact that the Defendants are not unbundling Wi-Fi calling from cellular services, along with

      the compulsory bundling of mobile data with cellular calling and texting, forces consumers into

      purchasing more expensive, full-service packages they may not need. This practice disregards the

      potential for more affordable standalone services. Standalone Wi-Fi calling that could be offered

      at a significantly lower cost, estimated to be about $6.50 per month. A special package for a

      family of 4 for a total of $20 per month. Today a family of 4 is paying an average of $240 per

      month for services they could chose not to purchase. This strategy not only limits consumer

      choice and flexibility but also exacerbates the financial burden on those who could benefit most

      from more cost-effective options.

             B. Legal and Moral Imperatives

89.   Antitrust violations and unfair business practices by dominant telecom companies have led to the

      exploitation of vulnerable consumers, particularly those who are economically disadvantaged or

      lack access to competitive service options. These practices contribute to the widening of the

      digital divide, as they disproportionately affect low-income individuals and communities,

      limiting their access to affordable and essential communication services and further entrenching

      existing inequities in the digital landscape.




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             DEFENDANTS’ BUNDLING PRACTICES AND ANTITRUST VIOLATIONS


90.   AT&T, Verizon, T-Mobile, and Deutsche Telekom (Deutsche Telekom is the majority

      shareholder of T-Mobile US) collectively control over 97% of the U.S. smartphone mobile

      market. Their business model mandates two key bundles, eliminating consumer choice for

      standalone services, using bundles for a) Cellular calling and texting services with Wi-Fi calling

      and b) Cellular calling and texting with mobile data.

91.   These practices raise significant antitrust concerns and disproportionately impact vulnerable

      consumers.

             A. Bundle 1: Cellular Calling and Texting Tied to Wi-Fi Calling

                1. Antitrust Violations

92.   Tie-In Sales: The compulsory bundling violates Section 1 of the Sherman Act and Section 3 of

      the Clayton Act.

93.   Forced Sales: The absence of standalone options constitutes forced sales, violating Section 1 of

      the Sherman Act and Section 3 of the Clayton Act.

94.   Price Fixing: The uniform pricing of Wi-Fi calling at zero while bundling demonstrates price

      fixing, violating Section 1 of the Sherman Act.

95.   Predatory Pricing: Offering Wi-Fi calling at below-cost rates violates Section 2 of the Sherman

      Act.

96.   Exclusive Dealing: The absence of standalone options demonstrates exclusive dealing, violating

      Section 3 of the Clayton Act.

                2. Impact on Consumers

97.   Unfair Cost Shifting: Subscribers pay twice for initiating Wi-Fi calls: a) Through their separate

      Internet service and b) Through higher, cellular-based prices for calling and texting.


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98.    Disproportionate Impact: This practice harms vulnerable populations such as the elderly,

       nursing home residents, and economically disadvantaged individuals.

99.    This bundling strategy violates multiple antitrust laws while exploiting consumers, particularly

       those most vulnerable to such practices.

             B. Bundle 2: Cellular Calling and Texting Tied to Mobile Data

                 1. Antitrust Violations

100.   Tie-In Sales: The mandatory bundling constitutes an illegal tie-in sale under Section 1 of the

       Sherman Act and Section 3 of the Clayton Act.

101.   Forced Sales: The absence of standalone mobile data options for smartphones constitutes forced

       sales, violating both the Sherman and Clayton Acts.

102.   Price Fixing: Similar pricing strategies across Defendants indicate coordinated efforts to

       maintain high market prices, violating Section 1 of the Sherman Act.

103.   Predatory Pricing: Aggressive pricing strategies aimed at undercutting potential competitors

       violate Section 2 of the Sherman Act.

104.   Exclusive Dealing: The absence of standalone mobile data services for smartphones indicates

       exclusive dealing practices, violating Section 3 of the Clayton Act.

             C. Bundling Antitrust Violations

105.   The evidence overwhelmingly supports the Plaintiffs’ claims of antitrust violations:

106.   Sherman Act Violation: Section 1 (Restraint of Trade): Restraint of trade involves actions by

       companies that interfere with free competition in the marketplace. In this Antitrust Class Action,

       the Defendants—major telecommunications carriers such as AT&T, Verizon, T-Mobile, and

       Deutsche Telekom (Deutsche Telekom is the majority shareholder of T-Mobile US) —are

       accused of engaging in practices that unfairly limit the ability of competitors to operate in the


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       market. Specifically, by tying Wi-Fi calling and mobile data services to cellular and texting plans,

       these companies prevent consumers from accessing standalone Wi-Fi calling and mobile data

       services, which could be offered at a significantly lower cost. This restriction not only limits

       consumer choice but also stifles competition from smaller providers who might wish to offer

       innovative, lower-cost services. This behavior violates Section 1 of the Sherman Act, which

       prohibits contracts, combinations, or conspiracies that unreasonably restrain trade.

107.   Sherman Act Violation: Section 2 (Monopolization): Monopolization occurs when a company

       uses its dominant market position to suppress competition and maintain its market dominance.

       The Antitrust Class Action alleges that the Defendants have used their control over essential

       telecommunications infrastructure to dominate the market for Wi-Fi calling. By tying Wi-Fi

       calling and mobile data to other services and using exclusive dealing arrangements, these

       companies have allegedly engaged in exclusionary conduct designed to prevent competitors from

       gaining a foothold in the market. This behavior breaches Section 2 of the Sherman Act, which

       addresses monopolistic practices and attempts to monopolize any part of trade or commerce.

108.   Clayton Act Violation: Section 2 (Barriers to Entry): The Defendants engage in price

       discrimination that distorts the market and harms competition. Their zero-cost model for Wi-Fi

       calling when bundled, contrasted with the inability to purchase it standalone, constitutes illegal

       price discrimination.

109.   Clayton Act Violation: Section 3 (Barrier to Entry): The Defendants enter into exclusive

       dealing arrangements that substantially lessen competition. Their tying of Wi-Fi calling and

       mobile data to cellular services effectively forecloses a substantial portion of the market to

       potential competitors.

110.   Clayton Act Violation: Section 7 (Tacit Collusion): The Defendants’ tacit collusion through




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       parallel conduct in bundling practices and pricing strategies has effects similar to an

       anticompetitive merger under this section.

111.   Sherman Act Violation: Section 1 (Price Fixing): Price fixing, a violation of Section 1 of the

       Sherman Act, occurs when competitors conspire to manipulate prices. The Defendants are

       accused of collectively bundling Wi-Fi calling with cellular services at inflated prices, preventing

       the availability of standalone Wi-Fi calling services, and fixing the cost of Wi-Fi calling at zero

       despite the actual costs involved.

112.   These practices have widespread effects. Consumers are compelled to overpay for bundled

       services they may not need, while being denied access to affordable standalone options. The

       coordinated actions across major carriers point to collusion, maintaining artificially high prices

       and stifling competition. This directly harms the Plaintiffs and the entire class financially. By

       pricing Wi-Fi calling at zero within their bundles, the Defendants have strategically devalued the

       technology surrounding Wi-Fi calling and texting, undermining its market potential. Ultimately,

       these actions create a market that restricts choice, hinders innovation, and preserves the

       Defendants’ dominance at the expense of both consumers and potential competitors.

113.   Clayton Act Violation: Section 3 (Exclusive Dealing): Exclusive dealing refers to agreements

       that restrict a company from buying, selling, or promoting the products of a competitor. In this

       Antitrust Class Action, the Defendants are alleged to have engaged in exclusive arrangements

       that prevent other telecommunications providers from offering competing Wi-Fi calling services.

       These arrangements may involve contracts with device manufacturers or service providers that

       limit the ability of other companies to compete in the market. Such practices create significant

       barriers to entry for new competitors and help maintain the Defendants’ control over the market,

       violating Section 3 of the Clayton Act, which prohibits exclusive dealing arrangements that




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       substantially lessen competition or tend to create a monopoly.

114.   Sherman Act Violation: Section 2 (Monopolization) & Clayton Act Violation: Section 7

       (Mergers and Acquisitions): Barriers to entry are obstacles that prevent new competitors from

       easily entering an industry or market. In this Antitrust Class Action, the Defendants are accused

       of creating and maintaining high barriers to entry in the Wi-Fi calling market through practices

       such as bundling services, exclusive dealing arrangements, and controlling essential

       telecommunications infrastructure. By making it difficult for new entrants to offer competing

       services, the Defendants protect their market dominance and limit consumer choice. This

       behavior violates Section 2 of the Sherman Act, which prohibits monopolization, as well as

       Section 7 of the Clayton Act, which addresses anticompetitive mergers and acquisitions that

       create barriers to market entry.

115.   FTC Act Violation: Section 5 (Unfair Methods of Competition): Fraudulent misrepresentation

       involves making false or misleading statements with the intent to deceive. In this Antitrust Class

       Action, the Defendants are accused of fraudulent misrepresentation by falsely claiming that Wi-

       Fi calling services are “free” no-charge add-ons to cellular and texting services bundles. These

       claims were allegedly made to maintain the bundled service model making Wi-Fi calling and

       texting appear to be integral to cellular calling and texting, which is more profitable for the

       Defendants. This behavior violates Section 5 of the FTC Act, which prohibits unfair methods of

       competition, including deceptive practices that harm consumers and competitors

             D. The Defendants’ MVNO Acquisitions in Their Quest to Expand Their Market

                 Dominance

116.   Verizon MVNO Acquisitions in Their Quest to Expand Their Market Dominance:

117.   TracFone (2021): Verizon acquired TracFone, the largest MVNO in the United States, which



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       operated under several brands, including Straight Talk and Simple Mobile, serving approximately

       20 million customers. This acquisition significantly expanded Verizon’s reach in the prepaid

       market, further solidifying its control over a broader segment of the wireless industry.

118.   Yahoo Mobile (2021): Verizon launched Yahoo Mobile as an MVNO leveraging its existing

       network, effectively integrating the Yahoo brand into its wireless services. While not a traditional

       acquisition, it showcased Verizon’s strategy of using its network infrastructure to expand its

       customer base through MVNOs.

119.   AT&T MVNO Acquisitions in Their Quest to Expand Their Market Dominance:

120.   Cricket Wireless (2014): AT&T acquired Leap Wireless, the parent company of Cricket

       Wireless, and rebranded it as its primary prepaid brand. This acquisition eliminated a significant

       competitor in the budget wireless market, consolidating AT&T’s control over the prepaid

       segment.

121.   GoPhone (2017): While technically not an acquisition, AT&T rebranded its longstanding prepaid

       service, GoPhone, as part of the Cricket Wireless brand, further consolidating its prepaid offerings

       under a single umbrella.

122.   T-Mobile MVNO Acquisitions in Their Quest to Expand Their Market Dominance:

123.   MetroPCS (2013): T-Mobile US acquired MetroPCS, an MVNO that catered to budget-

       conscious consumers with prepaid services. The merger allowed T-Mobile to strengthen its

       position in the prepaid market, enhancing its competitive edge and contributing to market

       consolidation.

124.   Mint Mobile (2023): T-Mobile acquired Ka’ena Corporation, the parent company of Mint

       Mobile, a low-cost MVNO known for its affordable prepaid mobile plans. This acquisition

       enabled T-Mobile to further tap into the budget segment of the market, expanding its customer




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       base and market control.

125.   These acquisitions by the Big 3 Mobile Network Operators— AT&T, Verizon, T-Mobile (and

       thus Deutsche Telekom)—illustrate a clear and ongoing strategy of market consolidation, where

       these dominant players systematically acquire MVNOs to reduce competition and expand their

       monopolistic control over the wireless market. Each acquisition has resulted in fewer independent

       competitors, further limiting consumer choice and reinforcing the market dominance of these

       three major players. The Defendants’ actions in this case are emblematic of this broader trend of

       consolidation, further entrenching their monopolistic power in the industry.

126.   In United States v. American Tobacco Co. (1911) and United States v. Aluminum Co. of

       America (Alcoa) (1945), the courts ruled that a small group of companies exercising dominant

       market control constituted monopolistic practices in violation of the Sherman Antitrust Act.

       These rulings affirm that even a few companies can collectively hold monopolistic power if their

       actions suppress competition and control the market.

             E. Relevant Appellate and Supreme Court Precedents Directly Support These

                 Claims

127.   In United States et al. v. Deutsche Telekom AG, T-Mobile US, Inc., SoftBank Group Corp.,

       and Sprint Corporation, the U.S. Department of Justice warned that the merger between Sprint

       and T-Mobile would significantly reduce competition in the wireless industry, limiting consumer

       choices and leading to higher prices. The DOJ expressed concern that reducing the number of

       major wireless carriers from four to three would harm the competitive landscape. Although the

       case was settled with conditions requiring the divestiture of certain assets to DISH Network, the

       government’s intervention highlighted the risks of diminished competition and the potential

       negative impact on consumers in the telecommunications market. Unfortunately, today’s reality



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       reflects these concerns, as the merger has indeed led to reduced competition, fewer choices for

       consumers, and the continued dominance of a small group of carriers in the market.

128.   The United States v. Socony-Vacuum Oil Co. case is highly relevant to our antitrust claims

       against AT&T, Verizon, T-Mobile, and Deutsche Telekom. In Socony-Vacuum, the Supreme

       Court established that price-fixing agreements are per se violations of Section 1 of the Sherman

       Act, meaning such agreements are inherently illegal without needing to prove their impact on the

       market. This precedent directly applies to our case, where we allege that the Defendants have

       engaged in similar anticompetitive behavior by collectively bundling Wi-Fi calling with cellular

       services at inflated prices and preventing the availability of standalone Wi-Fi calling options. This

       coordinated action effectively controls the price structure and restricts consumer choice,

       mirroring the price-fixing condemned in Socony-Vacuum. Additionally, the bundling practices

       can be seen as forcing consumers into exclusive arrangements, further supporting our claims of

       antitrust violations. The Socony-Vacuum ruling strengthens our case by demonstrating that the

       Defendants’ actions constitute established antitrust violations within the telecommunications

       market.

129.   United States v. Apple, Inc. (2015) affirmed that price-fixing agreements violate Sherman Act

       §1, supporting our claims against the Defendants’ coordinated pricing strategies for bundled

       services. This precedent strengthens our argument that their actions constitute illegal price-fixing

       in the telecommunications market.

130.   United States v. Microsoft Corp. (2001) ruled against tying practices that violated Sherman Act

       §1 and §2. This decision directly applies to our case, where the Defendants bundle Wi-Fi calling

       with cellular services, constituting illegal tying arrangements that stifle competition and limit

       consumer choice.




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131.   ZF Meritor, LLC v. Eaton Corp. (2012) found that certain exclusionary contracts violated

       antitrust laws. This ruling supports our claims that the Defendants’ bundling practices and

       prevention of standalone Wi-Fi calling services create illegal barriers to entry and exclusive

       dealing arrangements, harming both consumers and potential competitors.

132.   These landmark cases collectively provide a robust legal framework for our antitrust claims

       against the Defendants’ anticompetitive practices in the telecommunications industry. They

       support our arguments that the Defendants’ actions have significantly distorted the Wi-Fi calling

       market, harmed competition, and limited consumer choice through illegal price-fixing, tying

       arrangements, and exclusionary contracts. By applying these precedents to our case, we establish

       a strong foundation for challenging the Defendants’ practices, demonstrating how their bundling

       strategies and prevention of standalone Wi-Fi calling services violate multiple aspects of antitrust

       law. This legal basis not only strengthens our claims but also provides a clear pathway for seeking

       remedies to restore fair competition in the telecommunications market, reshaping the industry to

       benefit consumers and foster innovation.



              DEFENDANTS FRAUDULENT MISREPRESENTATION, DECEIT, AND

                                          MISLEADING CONDUCT


             A. Fraudulent Misrepresentation

133.   In their aggressive marketing campaigns, AT&T, Verizon, T-Mobile, and Deutsche Telekom

       deliberately obscured the reality that Wi-Fi calling incurs data costs for consumers, either through

       their home internet plans or public Wi-Fi usage. As industry leaders, the Defendants were fully

       aware of the underlying technology and associated costs, making their misrepresentation not just

       misleading, but knowingly false.



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134.   The intent was clearly to induce consumers to use Wi-Fi calling more frequently, effectively

       offloading network traffic onto consumer-paid Wi-Fi networks. This strategy allowed the

       Defendants to reduce their infrastructure costs while simultaneously increasing data usage—and

       thus, revenue—from their customers. This discrepancy between marketing claims and actual

       costs not only harmed individual consumers financially but also distorted the entire market for

       telecommunications services, stifling potential competition and innovation in standalone Wi-Fi

       calling solutions.

             B. Deceitful Conduct

135.   The Defendants engaged in a multi-faceted deception strategy, concealing material facts about

       Wi-Fi calling’s data consumption and costs while exploiting consumers’ limited technical

       knowledge. AT&T, Verizon, T-Mobile, and Deutsche Telekom breached their duty to provide

       full-service information, intentionally withholding crucial details to boost adoption at consumers’

       expense. Their deceptive bundling and misleading marketing emphasized benefits without

       explaining drawbacks, creating an environment where consumers couldn’t make informed

       decisions. This comprehensive approach manipulated demand and stifled potential competition

       in standalone Wi-Fi calling services, effectively distorting the telecommunications market to

       maintain their dominance.

             C. Misleading Conduct

136.   The Defendants engaged in deceptive bundling practices by obscuring the true costs and benefits

       of their services, exploiting the technical complexity and consumer knowledge gap to their

       advantage. Through misleading marketing, they emphasized the benefits of their offerings while

       deliberately omitting or downplaying the associated drawbacks, leaving consumers with a

       distorted understanding of the services they were purchasing.


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             D. Legal Precedents and Applications

137.   In re Vivendi Universal (2011) established liability for materially misleading statements

       affecting market perception. This precedent directly applies to the Defendants’ alleged

       misrepresentation about the feasibility of separating Wi-Fi calling from cellular services,

       strengthening our claim that they deliberately misled consumers and the market.

138.   Titan Group v. Faggen (1975) ruled that concealing material facts constitutes fraud when there’s

       a duty to disclose. This supports our argument that the Defendants fraudulently failed to reveal

       the viability of standalone Wi-Fi calling and mobile data services, despite their duty to provide

       accurate information to consumers.

139.   FTC v. Colgate-Palmolive Co. (1965) determined that deceptive advertising influencing

       consumer behavior violates consumer protection laws. This precedent is relevant to the

       Defendants’ alleged deceptive marketing of bundled services without disclosing standalone

       options, exposing them to liability under consumer protection statutes.

140.   Collectively, these cases provide a robust legal foundation for our claims of fraudulent

       misrepresentation and deceptive practices. They demonstrate that the Defendants’ actions not

       only violate antitrust laws but also constitute fraudulent misrepresentation, strengthening our case

       for comprehensive remedies and additional liability.



       INDICATIONS OF CARTEL BEHAVIOR IN THE DEFENDANTS’ COORDINATED

                                  PRACTICES AND MARKET IMPACT


             A. Unauthorized Use of Technology and Know-how Exposes Cartel Conduct

141.   The Defendants, AT&T, Verizon, T-Mobile, and Deutsche Telekom (the majority shareholder of

       T-Mobile US), have been leveraging Wi-Fi calling and texting technology and knowhow without



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       authorization. By concealing anti-competitive practices of utilizing Wi-Fi calling and texting

       technology and knowhow without authorization, the Defendants have been able to maintain their

       market dominance. Plaintiffs expose the Defendants’ “dirty secret”—their coordinated efforts to

       stifle competition and maximize profits at the expense of consumers.

             B. Anticompetitive and Anticonsumer Practices

                  1. Offloading

142.   The Defendants engage in the practice of offloading call traffic, text traffic, and mobile data traffic

       from their cellular networks to Wi-Fi networks. By doing so, they reduce the strain on their

       cellular infrastructure, effectively increasing network capacity without substantial additional

       investments. This practice allows them to oversubscribe their services while engaging in anti-

       competitive behaviors, such as tying arrangements, forced sales, predatory pricing, and exclusive

       dealing.

143.   The freed-up capacity is monetized by reselling it to Mobile Virtual Network Operators

       (MVNOs), further boosting the Defendants’ revenue streams. Offloading not only maximizes

       their profits but also reduces the need for additional infrastructure, such as new cell towers, saving

       billions in costs Additionally, by monopolizing Wi-Fi calling and texting technology and

       knowhow, the Defendants gain greater control over the market, limiting competition and

       maintaining their dominant position.

                  2. Cost Shifting to Subscribers

144.   The burden of offloading is unfairly shifted onto consumers, who bear both the already high cost

       of cellular access as well as Wi-Fi access piggy-backed by the Defendants without receiving any

       financial benefits. Consumers provide network relief to the Defendants by using their personal

       Wi-Fi connections for calls and data, yet they receive no discounts or compensation for this



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           contribution. This arrangement allows the Defendants to reduce their operational costs and

           infrastructure investments all the while increasing and shifting the financial burden on consumers.

                 C. Market Implications of Defendants’ Anticompetitive and Anticonsumer

                     Practices1

145.       Cost Savings: Wi-Fi calling enables operators to significantly reduce their operational costs by

           offloading voice traffic from their cellular networks to Wi-Fi networks. This practice allows

           operators to avoid the expensive process of acquiring additional spectrum, which is necessary to

           expand and maintain their cellular networks. By relying on consumers’ existing Wi-Fi

           infrastructure, operators can cut down on costly infrastructure investments, such as new cell

           towers and expanded network capacity.

146.       Blocking Competition: By bundling Wi-Fi calling services with their existing cellular plans, the

           Defendants effectively prevent competition from providers that could offer standalone Wi-Fi

           calling and texting at lower prices. This bundling strategy restricts consumer choice, forcing users

           to purchase comprehensive service packages from the carriers and limiting their ability to choose

           alternative, more affordable options from independent providers.

147.       Revenue and Market Control: The Defendants exploit Wi-Fi calling to create new revenue


       1
         Ray Mota (ACG) and Peter Curtin (Cisco) Presentation, “Voice Over Wi-Fi: An Economic
       View,” May 24, 2016.
       “Economic Advantages of Virtualized WiFi Access for VoWiFi,” ACG Research report, 2017
       (sponsored by Affirmed Networks).
       VoLTE/VoWiFi: capacity, reach and capability, Deloitte Touch Tohmatsu Limited, 2016
       <https://www2.deloitte.com/content/dam/Deloitte/global/Documents/Technology-Media-
       Telecommunications/gx-tmt-prediction-voice-over-wifi-lte.pdf>
       Ray Mota and Elias Aravantinos, “ACT Research: With VoWiFi, it’s all about the economics,”
       October 22, 2015, < https://www.fierce-network.com/tech/acg-research-vowifi-it-s-all-about-
       economics>
       “How, When and Wi-Fi: Weaving Wi-Fi into Your Network Experience through Virtualization,”
       Affirmed Networks, 2017 <https://www.affirmednetworks.com/wp-
       content/uploads/2017/12/Affirmed-Wifi-Solution-Brief.pdf>

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       streams while reducing costs. By offloading traffic from their cellular networks, they free up

       capacity, which they then license to MVNOs. This control over both the offloaded capacity and

       the associated licensing fees allows them to monopolize the licensing of mobile services. By

       bundling these services with cellular offerings and setting high licensing fees, the Defendants

       stifle competition, block smaller competitors, and maintain their dominant market position,

       maximizing financial benefits across the ecosystem.

             D. Impact of Defendants’ Anticompetitive and Anticonsumer Practices

148.   Economically Disadvantaged: Millions of economically disadvantaged individuals are forced

       to pay for bundled services they neither need nor want. These services, often marketed as

       essential, leave vulnerable populations with little choice but to incur unnecessary expenses,

       further straining their limited financial resources.

149.   Impact on Competition and Innovation: The Defendants’ monopolistic practices severely stifle

       competition by erecting barriers that prevent new entrants from entering the market. This reduces

       consumer choice and suppresses innovation, as potential competitors who could introduce novel,

       cost-effective solutions are effectively shut out. By maintaining a stranglehold on the market, the

       Defendants ensure their continued dominance at the expense of technological advancement and

       consumer welfare.

             E. Specific Impact of Defendants’ Anticompetitive and Anticonsumer Practices on

                 the Class

150.   General Subscribers Class: Around 373 million major carrier subscribers are subjected to

       misleading marketing practices and coercive tactics that push them into purchasing expensive

       bundled plans. These consumers are denied the option to choose more affordable, standalone

       services, leading to inflated costs and diminished consumer satisfaction.


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             F. Weighing the Evidence

151.   The Defendants’ control of 97% of the U.S. mobile market, their uniform bundling practices, and

       the lack of standalone options point to coordinated efforts to maintain market dominance. This

       evidence strongly supports the Plaintiffs’ claims of antitrust violations, highlighting significant

       consumer harm, overcharges, and barriers to entry.

             G. Antitrust Violations

152.   Sherman Act Section 1: Conspiracy in restraint of trade through coordinated bundling practices.

153.   Sherman Act Section 2: Monopolization of Wi-Fi calling and mobile data services through

       predatory pricing and exclusionary practices.

154.   Clayton Act Section 2: Price discrimination through zero-cost bundled Wi-Fi calling versus no

       standalone option.

155.   Clayton Act Section 3: Exclusive dealing arrangements preventing market entry for smaller

       competitors.

156.   Clayton Act Section 7: Mergers and acquisitions, particularly the T-Mobile/Sprint merger, that

       have substantially lessened competition, reinforcing the Defendants’ market power as Defendants

       are purchasing many MVNOs to increase their monopoly power by acquisition.

157.   The comprehensive body of evidence and relevant legal precedents overwhelmingly support the

       Plaintiffs’ claims. The Defendants’ practices violate multiple sections of both the Sherman and

       Clayton Acts, contributing to significant market distortion, consumer harm, and suppression of

       competition. The Court must impose substantial penalties and mandate the offering of standalone

       services to restore fair competition in the telecommunications market.




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                                               THE PARTIES


             A. The Plaintiffs

158.   Plaintiffs Ray Leon, Richard Inza, and Michael Inza: These individuals are residing in Florida.

159.   General Subscribers Class: Plaintiffs Ray Leon (AT&T), Richard Inza (Verizon), and Michael

       Inza (T-Mobile) are current subscribers of the Defendants’ mobile services or their respective

       Mobile Virtual Network Operators (MVNOs) and together with approximately 373 million major

       carrier subscribers of the Defendants’ mobile services or their respective MVNOs have personally

       experienced inflated prices, reduced service quality, or other anticompetitive harms as a result of

       the Defendants’ unlawful practices and unlawful conduct.

160.   The class representatives and each member of the class has been significantly impacted by the

       Defendants’ antitrust and anticompetitive practices, which have suppressed competition,

       manipulated market conditions, and unlawfully deployed Wi-Fi calling and texting technologies

       and know-how from a competitor, resulting in substantial financial and consumer harm.

             B. The AT&T Defendants

161.   On information and belief, Defendant AT&T, Inc. is a Delaware corporation with a principal

       place of business at 175 E Houston Street, San Antonio, Texas 78205. AT&T, Inc. may be served

       with process through its registered agent, the CT Corp System, at 1999 Bryan St., Ste. 900 Dallas,

       Texas 75201-3136. On information and belief, AT&T, Inc. is registered to do business in the

       District of Columbia.

162.   On information and belief, Defendant AT&T Corporation is a New York corporation with a

       principal place of business at One AT&T Way Bedminster, New Jersey 07921. AT&T

       Corporation may be served with process through its registered agent, the CT Corp System, at

       1999 Bryan St., Ste. 900 Dallas, Texas 75201-3136. On information and belief, AT&T


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       Corporation is registered to do business in the District of Columbia. On information and belief,

       AT&T Corporation is a wholly owned subsidiary of AT&T, Inc.

163.   On information and belief, Defendant AT&T Services, Inc. is a Delaware corporation with a

       principal place of business at 175 E Houston Street, San Antonio, Texas 78205. AT&T Services,

       Inc. may be served with process through its registered agent, the CT Corp System, at 1999 Bryan

       St., Ste. 900 Dallas, Texas 75201-3136. On information and belief, AT&T Services, Inc. is

       registered to do business in the District of Columbia. On information and belief, AT&T Services,

       Inc. is a wholly owned subsidiary of AT&T, Inc.

164.   On information and belief, Scott T. Ford, Glenn H. Hutchins, William E. Kennard, Stephen J.

       Luczo, Marissa A. Mayer, David R. Mcatee II, Michael B. McCallister, Beth E. Mooney,

       Matthew K. Rose, John Stankey, Cynthia B. Taylor, and Luis A. Ubiñas are each a member of

       the Board of Directors of AT&T and acting in an individual corporate capacity and as part of a

       collective with other members of the Board of Directors of AT&T regularly conducts business or

       is often present at the principal place of business of AT&T at 175 E Houston Street, San Antonio,

       Texas 78205 and may be served with process at that location or through its registered agent, the

       CT Corp System, at 1999 Bryan St., Ste. 900 Dallas, Texas 75201-3136.

165.   On information and belief, the above AT&T Defendants regularly conduct and transact business

       in the District of Columbia, throughout the United States, and within this District, and as set forth

       herein, have committed and continue to commit, acts within and outside the District of Columbia

       and within this District that violate the Sherman and Clayton Acts, including but not limited to

       tying arrangements, forced sales, exclusive dealing, price fixing, price discrimination, and

       predatory pricing, all of which suppress competition, manipulate market conditions, and harm

       consumers and competitors alike.




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             C. The T-Mobile Defendants

166.   On information and belief, T-Mobile USA, Inc. is a Delaware corporation with its principal place

       of business at 12920 Southeast 38th Street, Bellevue, Washington 98006. T-Mobile USA, Inc.

       may be served through its registered agent, Corporation Service Company, 211 E. 7th Street,

       Suite 620, Austin, Texas 78701. On information and belief, T-Mobile USA, Inc. is registered to

       do business in the District of Columbia.

167.   On information and belief, T-Mobile USA, Inc. is a subsidiary of German telecommunications

       company Deutsche Telekom AG headquartered in Bonn Germany Delaware corporation with its

       principal place of business at Friedrich-Ebert-Allee 140, Bonn, Germany 53113. Deutsche

       Telekom AG may be served through its registered agent, Corporation Service Company, 211 E.

       7th Street, Suite 620, Austin, Texas 78701. On information and belief, Deutsche Telekom AG

       through its subsidiary T-Mobile USA, Inc. has regular and established places of business

       throughout this District.

168.   On information and belief, Timotheus Höttges, André Almeida, Marcelo Claure, Srikant M.

       Datar, Srinivasan Gopalan, Dr. Christian P. Illek, James J. Kavanaugh, Raphael Kübler, Thorsten

       Langheim, Dominique Leroy, Letitia A. Long, Mike Sievert, Teresa A. Taylor, and Kelvin R.

       Westbrook are each a member of the Board of Directors of T-Mobile and acting in an individual

       corporate capacity and as part of a collective with other members of the Board of Directors of T-

       Mobile regularly conducts business or is often present at the principal place of business of T-

       Mobile at 12920 Southeast 38th Street, Bellevue, Washington 98006 and may be served with

       process at that location or through its registered agent, Corporation Service Company, 211 E. 7th

       Street, Suite 620, Austin, Texas 78701.

169.   On information and belief, Timotheus Höttges, Dr. Ferri Abolhassan, Birgit Bohle, Srini Gopalan,




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       Christian P. Illek, Thorsten Langheim, Dominique Leroy, and Claudia Nemat, each are a member

       of the Board of Directors of Deutsche Telekom AG and acting in an individual corporate capacity

       and as part of a collective with other members of the Board of Directors of Deutsche Telekom

       AG regularly conducts business or is often present at the principal place of business of T-Mobile

       at 12920 Southeast 38th Street, Bellevue, Washington 98006 and may be served with process at

       that location or through its registered agent, Corporation Service Company, 211 E. 7th Street,

       Suite 620, Austin, Texas 78701.

170.   On information and belief, the above T-Mobile Defendants regularly conducts and transacts

       business in the District of Columbia, throughout the United States, and within this District, and

       as set forth herein, has committed and continues to commit, acts within and outside the District

       of Columbia and within this District that violate the Sherman and Clayton Acts, including but not

       limited to tying arrangements, forced sales, exclusive dealing, price fixing, price discrimination,

       and predatory pricing, all of which suppress competition, manipulate market conditions, and harm

       consumers and competitors alike.

             D. The Verizon Defendants

171.   On information and belief, Verizon Communications, Inc. is a Delaware corporation with a

       principal place of business at 140 West Street, New York, New York 10013. Verizon

       Communications, Inc. may be served with process through its registered agent, the Corporation

       Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.

       On information and belief, Verizon Communications, Inc. is registered to do business in the

       District of Columbia.

172.   On information and belief, Cellco Partnership dba Verizon Wireless is a Delaware general

       partnership with a principal place of business at One Verizon Way Basking Ridge, New Jersey



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       07920. Cellco Partnership dba Verizon Wireless may be served with process through its registered

       agent, the Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

       Wilmington Delaware 19801. On information and belief, Cellco Partnership dba Verizon

       Wireless is a wholly owned subsidiary of Verizon Communications, Inc. On information and

       belief, Cellco Partnership dba Verizon Wireless is registered to do business in the District of

       Columbia.

173.   On information and belief, Verizon Services Corp. is a Delaware corporation with a principal

       place of business at 1717 Arch Street, 21st Floor Philadelphia, Pennsylvania 19103. Verizon

       Services, Corp. may be served with process through its registered agent, the CT Corporation

       System, at 1999 Bryan St., Ste. 900 Dallas, Texas 75201-3136. On information and belief,

       Verizon Services Corp. is a wholly owned subsidiary of Verizon Communications, Inc. On

       information and belief, Verizon Services Corp. is registered to do business in the District of

       Columbia.

174.   On information and belief, Verizon Business Network Services Inc. is a Delaware corporation

       with a principal place of business at 22001 Loudin County Parkway Ashburn, Virginia 20147.

       Verizon Business Network Services, Inc. may be served with process through its registered agent,

       the CT Corporation System, at 1999 Bryan St., Ste. 900 Dallas, Texas 75201-3136. On

       information and belief, Verizon Business Network Services, Inc. is a wholly owned subsidiary of

       Verizon Communications, Inc. On information and belief, Verizon Business Network Services,

       Inc. is registered to do business in the District of Columbia.

175.   On information and belief, Vittorio Colao, Shellye L. Archambeau, Mark T. Bertolin, Roxanne

       S. Austin, Melanie L. Healey, Laxman Narasimhan, Clarence Otis, Jr., Daniel H. Schulman,

       Rodney E. Slater, Carol B. Tomé, Vandana Venkatesh, Hans Vestberg, and Gregory G. Weaver




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       are each a member of the Board of Directors of Verizon and acting in an individual corporate

       capacity and as part of a collective with other members of the Board of Directors of Verizon

       regularly conducts business or is often present at the principal place of business of Verizon at 140

       West Street, New York, New York 10013 and at 600 Hidden Ridge, Irving, TX 75038 and may

       be served with process at that location or through its registered agent, Corporation Trust

       Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801 or the

       CT Corporation System, at 1999 Bryan St., Ste. 900 Dallas, Texas 75201-3136.

176.   On information and belief, the above Verizon Defendants regularly conduct and transact business

       in the District of Columbia, throughout the United States, and within this District, and as set forth

       herein, have committed and continue to commit, acts within and outside the District of Columbia

       and within this District that violate the Sherman and Clayton Acts, including but not limited to

       tying arrangements, forced sales, exclusive dealing, price fixing, price discrimination, and

       predatory pricing, all of which suppress competition, manipulate market conditions, and harm

       consumers and competitors alike.



                                       JURISDICTION AND VENUE


177.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1337, as this action

       arises under Sections 1 and 2 of the Sherman Antitrust Act (15 U.S.C. §§ 1, 2) and Sections 2, 3,

       and 7 of the Clayton Act (15 U.S.C. §§ 18, 14). The claims presented by the Plaintiffs and the

       class they represent involve federal questions relating to antitrust violations.

178.   This Court also has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. §

       1367(a) because those claims are so related to the federal claims that they form part of the same

       case or controversy under Article III of the United States Constitution.



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179.   This action is brought under Sections 4 and 6 of the Clayton Act (15 U.S.C. §§ 15(a) and 26) to

       recover treble damages, equitable relief, costs of suit, and reasonable attorney’s fees for violations

       of Sections 1 and 2 of the Sherman Act (15 U.S.C. §§ 1, 2) and Section 3 of the Clayton Act (15

       U.S.C. § 14). This Court has subject matter jurisdiction for these antitrust violations pursuant to

       Section 4(a) of the Clayton Act (15 U.S.C. § 15(a)), 28 U.S.C. §§ 1331 and 1338.

180.   Furthermore, on information and belief, venue is proper in this District pursuant to Section 12 of

       the Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391(b) and (c) because the Defendants transact

       business and have agents in this District. A substantial portion of the events giving rise to

       Plaintiffs’ claims occurred in this District, and a significant portion of the affected interstate trade

       and commerce described herein has been carried out in this District.

181.   The Defendants, through their anticompetitive practices and monopolistic conduct, have engaged

       in activities that directly and substantially affect interstate commerce. The impact of these actions

       has been felt by Plaintiffs and the class they represent.



                   VENUE SUITABILITY AND REQUEST FOR CONSOLIDATION


             A. Venue Suitability

                  1. Business Operations

182.   The Defendants—AT&T, Verizon, T-Mobile, and Deutsche Telekom—conduct extensive

       operations across the United States, including within the District of Columbia.

183.   The Defendants maintain significant business activities in the District of Columbia, including: a)

       Retail stores, b) Service centers, and c) Network infrastructure.

                  2. Market Reach

184.   A substantial portion of the Defendants’ approximately 373 million major carrier subscribers



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       likely reside within the District of Columbia, making this venue directly relevant to the issues at

       hand.

                 3. Retail Presence in the District of Columbia.

185.   AT&T: With approximately 5,340 retail stores across the United States, there are approximately

       5-10 AT&T retail stores in Washington, D.C. Corporate Satellite Offices: AT&T maintains a

       significant presence in Washington, D.C. with corporate satellite offices focused on regulatory

       affairs, public policy, and government relations, primarily due to its need to interact with

       policymakers and federal government regulators, including the Federal Communications

       Commission (FCC).

186.   Verizon: With approximately 6,259 retail stores across the United States, there are approximately

       8-12 retail stores in Washington, D.C. Corporate Satellite Offices: Verizon maintains a

       significant presence in Washington, D.C. with corporate satellite offices focused on regulatory

       affairs, public policy, and government relations, primarily due to its need to interact with

       policymakers and federal government regulators, including the Federal Communications

       Commission (FCC).

187.   T-Mobile: With approximately 6,272 retail stores across the United States, there are

       approximately 6-10 retail stores in Washington, D.C. Corporate Satellite Offices: T-Mobile

       maintains a significant presence in Washington, D.C. with corporate satellite offices focused on

       regulatory affairs, public policy, and government relations, primarily due to its need to interact

       with policymakers and federal government regulators, including the Federal Communications

       Commission (FCC).

                 4. Jurisdiction and Venue Considerations

188.   Federal district courts have jurisdiction over antitrust cases and class actions, making the District




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       Court for the District of Columbia an appropriate venue due to:

                   Significant connections to the alleged violations and their impacts.

                   The presence of the Defendants’ business operations.

                   A substantial number of affected consumers in the region.

                   5. Jury Trial Considerations

189.   The District Court for the District of Columbia provides a diverse jury pool, with local jurors

       potentially having a vested interest in the outcome, leading to a more engaged and representative

       jury.

               B. Request For Consolidation

                   1. Judicial Efficiency

190.   The District Court for the District of Columbia has a vested interest in consolidating related

       antitrust cases and actions, whether class actions or individual civil matters, before the same court

       or judge.

                   2. Benefits of Consolidation

191.   Consolidating these cases will provide numerous judicial benefits, including:

                   The reduction of duplicate proceedings.

                   Streamlined evidence presentations.

                   Efficient witness testimonies.

                   Consistent rulings on similar legal issues and facts.

                   3. Streamlined Discovery Process

192.   These cases involve shared evidence related to the Defendants’ practices, which will benefit from

       a more efficient discovery process, including the scheduling and testimony of expert witnesses.

                   4. Rationale for Consolidation



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193.   The rationale for consolidating these cases is robust and well-founded.

194.   Common Defendants: These complaints may target the same set of Defendants—AT&T,

       Verizon, T-Mobile, and Deutsche Telekom. This overlap indicates a shared pattern of alleged

       anticompetitive behavior, ensuring that the same entities are held accountable for similar

       violations.

195.   Similar Violations of Law: These complaints may allege similar violations of the Sherman Act

       and the Clayton Act, specifically targeting anticompetitive practices that restrain trade and

       commerce, as well as mergers and practices that substantially lessen competition. The similarities

       in the alleged violations underscore a common legal framework and set of facts applicable to both

       cases.

196.   Shared Factual Background: These cases may address similar anticompetitive practices,

       including:

                    Service Bundling and Tying: These complaints may challenge the Defendants’

                    practice of bundling Wi-Fi calling and mobile data with cellular services, creating

                    barriers to entry and inflating consumer costs.

                    Patent Misuse and Intellectual Property Violations: These complaints may

                    specifically highlight the unauthorized use of a competitor’s patented technology by

                    the Defendants, which intersects with broader allegations of anticompetitive behavior

                    in these cases.

                    5. Strategic Implications

197.   Consolidating these cases will allow for a comprehensive examination of the Defendants’

       practices and their impact on competition and consumer choice. Given the overlap in the business

       practices of the Defendants and the similar nature of the legal claims, a unified approach will




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       facilitate a more thorough and coherent judicial review.

                 6. Efficiency and Consistency

198.   Consolidating the cases offers several advantages:

                 Reduced Burden on All Parties: A single consolidated case reduces the burden on

                 the Plaintiffs, Defendants, and the Court by streamlining proceedings and avoiding

                 duplication of efforts.

                 More Efficient Use of Court Resources: Combining the cases ensures that judicial

                 resources are used more effectively, avoiding the need for multiple sets of

                 proceedings and hearings.

                 Consistent Application of Law: A consolidated case promotes the consistent

                 application of legal principles, ensuring that similar facts and claims are adjudicated

                 uniformly, thereby reducing the risk of conflicting judgments.

                 7. Appropriate Venue

199.   The District Court for the District of Columbia is an appropriate venue for this Antitrust Class

       Action and other related antitrust cases. This Court’s jurisdiction and expertise in handling

       complex antitrust matters make it well-positioned to manage a consolidated case involving

       multiple Defendants and overlapping legal issues.

200.   Consolidating this Antitrust Class Action with other cases is warranted to enhance judicial

       efficiency, ensure consistent legal outcomes, and address the shared factual and legal issues in a

       unified manner. This approach will benefit all parties involved and support a fair and

       comprehensive resolution of the antitrust claims.

             C. Related VoIP-Pal.com Antitrust Action

                 1. Third-Party Litigation Funding Agreement (“Agreement”) with the three



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                      Plaintiffs of this Antitrust Class Action.

201.   VoIP-Pal’s recent transition to the role of sole funder and advisor in this Class Action Antitrust

       Complaint represents a strategic evolution in its longstanding effort to combat anti-competitive

       practices within the telecommunications industry. VoIP-Pal has been deeply involved in both this

       class action lawsuit and its own antitrust complaint against the major telecommunications

       carriers, alleging violations of the Sherman and Clayton Acts. The decision to streamline the

       representation into a single “General Subscribers Class,” representing approximately 373 million

       major carrier subscribers, was a deliberate move to strengthen the legal position of the complaint

       while reducing risks associated with arbitration clauses and class certification challenges.

                 2. VoIP-Pal’s New Role: Complementary, Not Conflicting

202.   The transition of VoIP-Pal to the role of funder and advisor, formalized through the Third-Party

       Litigation Funding Agreement (“Agreement”) with the three plaintiffs, enhances rather than

       conflicts with ongoing legal strategies. The alignment between the allegations in VoIP-Pal’s

       antitrust complaint and those in this class action lawsuit underscores the complementary nature

       of this arrangement. Both legal actions are predicated on the Defendants’ violations of the

       Sherman and Clayton Acts, particularly focusing on anti-competitive practices such as the

       bundling of Wi-Fi calling and texting with cellular calling and texting services and the misuse of

       intellectual property.

                 3.   Defendants’ Conflict Arguments are Legally Flawed

203.   Defendants may argue that VoIP-Pal’s dual role as both a plaintiff in its own antitrust complaint

       and a funder/advisor in the class action creates a conflict of interest. However, this argument can

       be thoroughly and effectively rebutted:

204.   Aligned Interests:




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                Both VoIP-Pal’s antitrust complaint and the class action target the same Defendants

                for similar anti-competitive practices.

                This alignment of interests demonstrates that VoIP-Pal’s involvement enhances rather

                than conflicts with the overall legal strategy.

                The shared goal of addressing anti-competitive behavior in the telecommunications

                industry unifies the two actions.

205.   Transparency and Disclosure:

                VoIP-Pal’s role as a funder and advisor is fully disclosed through the Third-Party

                Litigation Funding Agreement.

                This transparency aligns with best practices established in cases like Gbarabe v.

                Chevron Corp., where the court emphasized the importance of disclosure in third-

                party funding arrangements.

                Full disclosure allows the court and all parties to assess and monitor the arrangement,

                ensuring fairness and propriety.

206.   Non-Interference in Litigation Strategy:

                The Third-Party Litigation Funding Agreement explicitly states that VoIP-Pal will not

                interfere with the litigation strategy of the class action.

                This provision addresses potential concerns about undue influence and maintains the

                independence of the class action plaintiffs.

                The class action attorneys retain full control over case strategy, settlement decisions,

                and day-to-day litigation management.




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207.   Independent Legal Representation:

                The class action plaintiffs are advised to seek independent legal counsel before

                signing the Third-Party Litigation Funding Agreement.

                This ensures that their rights and interests are fully protected, mitigating concerns

                about potential conflicts.

                Independent counsel can review the agreement and advise on any potential issues,

                providing an additional layer of protection for the plaintiffs.

208.   Judicial Oversight:

                The Court retains the authority to review and approve the funding arrangement,

                providing an additional layer of protection against any potential conflicts of interest.

                Judicial oversight ensures that the arrangement complies with all legal and ethical

                standards.

                The Court can intervene if any issues arise during the course of the litigation.

209.   Complementary Rather Than Conflicting Actions:

                VoIP-Pal’s antitrust complaint and the class action are complementary efforts to

                address the same alleged anti-competitive behavior.

                The dual approach allows for a more comprehensive challenge to the Defendants’

                practices, potentially uncovering additional evidence and legal arguments.

                This synergy benefits both cases without creating conflicting interests.

210.   Separation of Roles:

                VoIP-Pal’s role as a funder and advisor in the class action is distinct from its role as a

                plaintiff in its own case.




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                Clear delineation of these roles in the Third-Party Litigation Funding Agreement

                prevents confusion or overlap.

                This separation ensures that VoIP-Pal’s interests in its own case do not improperly

                influence the class action.

211.   Enhanced Resources and Expertise:

                VoIP-Pal’s involvement provides additional resources and industry expertise to the

                class action.

                This contribution strengthens the overall case against the Defendants without

                compromising the independence of the class action.

                The sharing of resources and knowledge is a recognized benefit in complex antitrust

                litigation.

212.   Precedent for Dual Roles:

                As demonstrated in cases like In re Drywall Antitrust Litigation, courts have allowed

                parties with industry ties to participate in related litigation.

                VoIP-Pal’s dual role is consistent with these precedents, which recognize the value of

                industry expertise in antitrust cases.

213.   Ethical Compliance:

                The funding arrangement adheres to ethical guidelines for third-party litigation

                funding.

                VoIP-Pal commits to maintaining the confidentiality of any sensitive information

                obtained through its role as funder/advisor.

                Regular ethical reviews can be conducted to ensure ongoing compliance.




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214.   Mutual Benefit Without Prejudice:

                The arrangement benefits both VoIP-Pal and the class action plaintiffs without

                prejudicing the rights of the Defendants.

                Defendants retain all their legal rights and defenses against both actions.

                The cooperation between VoIP-Pal and the class action does not create any unfair

                advantage, but rather promotes efficient and thorough litigation of the antitrust

                claims.

215.   Flexibility and Ongoing Assessment:

                The funding agreement can include provisions for regular review and potential

                modification if circumstances change.

                This flexibility allows for ongoing assessment of the arrangement’s appropriateness

                and effectiveness.

                Any emerging concerns can be promptly addressed, maintaining the integrity of both

                actions.

216.   Common Legal Interest:

                VoIP-Pal and the class action plaintiffs share a common legal interest in holding the

                same Defendants accountable for similar anti-competitive behaviors.

                This common interest doctrine supports the legitimacy of information sharing and

                cooperation between the parties.

217.   Streamlined Representation:

                The consolidation into a single “General Subscribers Class” strengthens the legal

                position and reduces risks associated with arbitration clauses and class certification

                challenges.




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                This streamlined approach enhances judicial efficiency without compromising the

                interests of individual plaintiffs.

218.   Preemptive Disclosure:

                By proactively addressing VoIP-Pal’s dual role in the pleadings, the plaintiffs

                demonstrate transparency and good faith.

                This preemptive approach allows the court to address any potential concerns upfront,

                reducing the risk of later challenges.

219.   Enhanced Discovery:

                The dual approach may lead to more comprehensive discovery, potentially

                uncovering additional evidence of anti-competitive practices.

                This broader scope of discovery benefits both VoIP-Pal’s case and the class action

                without creating conflicts.

220.   Cost-Effective Litigation:

                Shared resources and aligned strategies can lead to more cost-effective litigation for

                all parties involved.

                This efficiency serves the interests of justice by allowing for a more thorough pursuit

                of the antitrust claims.

221.   Increased Likelihood of Success:

                The combined expertise, resources, and legal approaches increase the overall

                likelihood of a favorable outcome in addressing the alleged anti-competitive

                practices.

                This improved chance of success benefits the broader goal of maintaining fair

                competition in the telecommunications industry.




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                 4. Precedents

222.   In re Drywall Antitrust Litigation (E.D. Pa. 2016):

                 Commonality: The court upheld the involvement of plaintiffs with close ties to

                 industry groups supporting the litigation.

                 Relevance to VoIP-Pal: Supports VoIP-Pal’s dual role as both a plaintiff and funder,

                 emphasizing that aligned interests and transparent agreements do not constitute a

                 conflict.

223.   In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation (E.D.N.Y.

       2019):

                 Commonality: The court allowed plaintiffs with prior contractual relationships to

                 entities involved in the litigation to continue their involvement.

                 Relevance to VoIP-Pal: Reinforces the legitimacy of VoIP-Pal’s role as both a

                 plaintiff and funder, highlighting the importance of transparency and independent

                 legal advice.

224.   United States v. Apple Inc. (e-books case) (2d Cir. 2013):

                 Commonality: While not directly about third-party funding, this case demonstrates

                 the court’s support for collaborative efforts to address anti-competitive practices.

                 Relevance to VoIP-Pal: Supports the cooperation between VoIP-Pal and the class

                 action plaintiffs in challenging alleged monopolistic behaviors.

225.   California v. American Stores Co. (1990):

                 Commonality: The Supreme Court upheld the right of a private plaintiff to challenge

                 anti-competitive mergers under the Clayton Act, even with concurrent actions.




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                 Relevance to VoIP-Pal: Validates VoIP-Pal’s dual role as both a plaintiff and a

                 funder, provided its actions align with the broader goal of combating anti-competitive

                 practices.

226.   Gbarabe v. Chevron Corp. (N.D. Cal. 2016):

                 Commonality: The court allowed third-party funding in a class action, emphasizing

                 the importance of disclosure and non-interference with litigation strategy.

                 Relevance to VoIP-Pal: Supports VoIP-Pal’s role as a funder in the class action,

                 highlighting the acceptability of third-party funding when properly disclosed and

                 managed.

                 5. Conclusion

227.   The comprehensive analysis presented above, including both the precedent support and the

       rebuttal of potential conflict arguments, demonstrates that VoIP-Pal’s dual role as both a plaintiff

       in its own antitrust complaint and a funder/advisor in the class action not only avoids conflicts of

       interest but actually enhances the overall legal strategy against the Defendants. The arrangement

       is transparently disclosed, ethically compliant, and subject to both independent legal scrutiny and

       judicial oversight.

228.   The alignment of interests, clear separation of roles, and numerous safeguards effectively

       neutralize any potential conflict arguments. The arrangement optimizes resources, leverages

       shared knowledge, and increases the likelihood of a favorable outcome in addressing the alleged

       anti-competitive practices.

229.   Furthermore, the precedents cited strongly support the legitimacy of such dual roles in antitrust

       litigation, recognizing the value of industry expertise and aligned interests in complex cases. The

       court’s ability to review and approve the funding arrangement provides an additional safeguard




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       against potential conflicts.

230.   VoIP-Pal’s involvement strengthens the legal challenge against the Defendants without

       compromising the integrity of either the class action or its own antitrust complaint. This

       arrangement represents a strategic and ethically sound approach to addressing alleged anti-

       competitive practices in the telecommunications industry, fully aligned with legal precedents and

       best practices in complex antitrust litigation. The potential benefits to the pursuit of justice and

       fair competition far outweigh any theoretical concerns about conflicts, making this dual role not

       just acceptable, but advantageous to the overall legal process.



                                       STATEMENT OF THE CASE


231.   This antitrust class action is brought on behalf of the General Subscribers Class: Approximately

       373 million major carrier subscribers who have experienced inflated prices, reduced service

       quality, or other anticompetitive harms due to the Defendants’ practices.

232.   The Defendants—AT&T Inc., T-Mobile US, Inc., Deutsche Telekom AG, and Verizon

       Communications Inc.—have systematically violated antitrust laws through the following

       practices:


         •   Tying Arrangements and Forced Bundling: In violation of Sherman Act §1 and

             Clayton Act §3, the Defendants bundled Wi-Fi calling with cellular services, thereby

             restricting consumer choice and coercing customers into purchasing bundled services

             they may not need.

         •   Monopolization of Wi-Fi Calling and Mobile Data Markets: In violation of Sherman

             Act §2 and Clayton Act §7, the Defendants engaged in monopolistic practices, including




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             predatory pricing, exclusive dealing, and erecting barriers to entry, to maintain their

             dominance in the market.

         •   Price-Fixing and Predatory Pricing: The Defendants violated Sherman Act §1 and

             Clayton Act §2 by engaging in uniform pricing strategies and offering Wi-Fi calling at

             zero cost, despite associated expenses, to distort the market and eliminate competition

         •   Group Boycott and Concerted Refusal to Deal: In violation of Sherman Act §1, the

             Defendants collectively refused to offer standalone Wi-Fi calling or mobile data services,

             thereby preventing competition and maintaining their oligopolistic control.

         •   Fraudulent Misrepresentation: The Defendants engaged in deceptive practices by

             marketing “free” Wi-Fi calling while concealing the true costs and limitations, violating

             both Sherman Act §§1 and 2.


233.   These anticompetitive practices have caused significant financial harm, market distortion, inflated

       prices, and reduced consumer choice.

             A. Legal Precedents

234.   Legal precedents supporting these claims include:

                 Eastman Kodak Co. v. Image Technical Services, Inc., 504 U.S. 451 (1992):

                 Established that tying arrangements that violate antitrust laws are illegal.

                 United States v. Microsoft Corp., 253 F.3d 34 (D.C. 2001): Found that tying practices

                 designed to preserve market dominance are unlawful.

                 Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985):

                 Demonstrated that conduct harming competition constitutes a violation of antitrust

                 laws.




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                 Brooke Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209 (1993):

                 Addressed the illegality of predatory pricing as an antitrust violation.

235.   These cases provide a solid legal foundation for the claims presented in this Antitrust Class

       Action, highlighting the Defendants’ systematic violations of antitrust laws.

             B. FTC and DOJ Positions

236.   Both the Federal Trade Commission (FTC) and the Department of Justice (DOJ) have

       consistently opposed anticompetitive practices, underscoring the importance of maintaining

       competitive markets free from illegal bundling and predatory pricing strategies that harm

       consumers and stifle innovation. Their positions reinforce the necessity for judicial intervention

       in this case to restore fair competition and protect consumer interests.



                                        HIGH BAR OF TWOMBLY


237.   In Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), the Supreme Court established a stringent

       standard for antitrust pleadings under the Sherman Act, requiring sufficient factual matter to

       suggest that an agreement was made. The allegations in this case meet and exceed the Twombly

       standard, with detailed claims that AT&T, Verizon, T-Mobile, and Deutsche Telekom —who

       collectively control over 97% of the U.S. mobile market—engaged in collusion through uniform

       practices of bundling Wi-Fi calling with cellular services and offering Wi-Fi calls at zero cost.

       This conduct restricts market entry, harms competition, and demonstrates not only parallel

       behavior but also clear indicators of collusion.

             A. Factual Pleadings

                 1. Parallel Conduct and Plus Factors

238.   Simultaneous Actions: The Defendants uniformly bundle Wi-Fi calling with cellular services,


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       offering Wi-Fi at no additional cost. This practice restricts competition and limits consumer

       choice, evidencing parallel conduct that signals coordinated behavior.

239.   Tying and Forced Sales: The Defendants compel consumers to purchase bundled services by

       tying Wi-Fi calling to cellular services, thereby denying consumers the option of standalone Wi-

       Fi calling in clear violation of antitrust laws.

240.   Increased Costs for Consumers: The refusal to offer standalone Wi-Fi calling inflates consumer

       costs, placing an undue financial burden on consumers.

241.   Predatory Pricing: By offering Wi-Fi calling at zero cost despite the associated expenses, the

       Defendants engage in predatory pricing, which is designed to eliminate competition and solidify

       their market control.

                  2. Motivations Against Self-Interest

242.   Market Concentration: The Defendants’ overwhelming control over the mobile market creates

       a conducive environment for collusion, reducing the level of competition significantly.

243.   Barriers to Entry: The Defendants’ dominance, coupled with their pricing strategies, erects

       substantial barriers for new competitors, ensuring their continued market dominance.

244.   Economic Evidence: The Defendants’ decision to price Wi-Fi calling at zero, despite it incurring

       costs, demonstrates a calculated strategy to suppress competition rather than a legitimate business

       justification.

                  3. Tacit Collusion and Industry Structure

245.   Opportunities to Collude: The Defendants likely engaged in behind-the-scenes coordination to

       maintain their anticompetitive practices, benefiting from their market dominance.

246.   Market Behavior: The consistent bundling and pricing strategies employed by the Defendants

       suggest a coordinated effort to prevent the emergence of a standalone Wi-Fi calling market,




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       further entrenching their monopolistic control.

247.   Deceptive Practices: The Defendants mislead consumers by presenting their bundled pricing

       strategy as advantageous, while in reality, it stifles competition and limits consumer choice.

             B. Precedent Cases Supporting Plaintiffs’ Factual Pleadings

248.   In re Urethane Antitrust Litigation, 768 F.3d 1245 (10th Cir. 2014): Successfully established

       allegations of price-fixing through parallel conduct and coordinated price increases, underscoring

       the importance of economic evidence and industry behavior in proving collusion.

249.   In re TFT-LCD (Flat Panel) Antitrust Litigation, 267 F.R.D. 583 (N.D. Cal. 2009): Allowed

       price-fixing and market allocation claims to advance based on uniform price increases,

       highlighting the relevance of consistent pricing strategies as evidence of antitrust violations.

250.   In re Generic Pharmaceuticals Pricing Antitrust Litigation, 338 F. Supp. 3d 404 (E.D. Pa. 2019):

       Demonstrated that claims of price-fixing could meet the Twombly standard through well-

       documented parallel conduct combined with additional supporting factors.

251.   In re Automotive Parts Antitrust Litigation, 27 F. Supp. 3d 612 (E.D. Mich. 2011): Established

       that price-fixing and bid-rigging allegations satisfied the Twombly standard through evidence of

       coordinated conduct, reinforcing the legal framework applicable to this case.

             C. Meeting The High Bar of Twombly

252.   The Plaintiffs’ allegations extend beyond mere parallel conduct, satisfying the rigorous standard

       set by Twombly for plausibility. The uniform practices of bundling Wi-Fi calling with cellular

       services, despite the associated costs, demonstrate coordinated behavior indicative of collusion.

       The Defendants’ collective control over 97% of the U.S. mobile market creates an environment

       ripe for collusion, and the Plaintiffs have provided detailed, economically supported accounts of

       this conduct. Post-Twombly cases, such as In re Urethane Antitrust Litigation and In re TFT-


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       LCD Antitrust Litigation, validate the sufficiency of these pleadings, justifying the case’s

       advancement to the discovery phase and a full consideration of its merits.



             STANDING FOR THE CLASS AS PER ARTICLE III AND THE FEDERAL

                  ANTITRUST LAWS OF THE SHERMAN AND CLAYTON ACTS


             A. Standing Of the Class Under Article III

253.   General Subscribers Class:

                 Injury in Fact: Approximately 373 million major carrier subscribers have been

                 impacted by higher prices and limited service options as a result of the Defendants’

                 monopolistic conduct.

                 Causation: The inflated costs and reduced choices are a direct outcome of the

                 Defendants’ exclusionary practices in the telecommunications market.

                 Redressability: Judicial intervention through injunctions and damages will address

                 these overpayments and help restore competitive market conditions.

             B. Federal Standing of the Class

254.   The Defendants’ conduct violates critical provisions of both the Sherman and Clayton Acts:

                 1. Sherman Act Violations

255.   Section 1: The Defendants engaged in illegal tying and forced bundling of Wi-Fi calling services

       with cellular services, thereby restricting competition.

256.   Section 2: The Defendants have exploited their market dominance through monopolistic

       practices, including predatory pricing and exclusionary tactics, to suppress competition.

                 2. Clayton Act Violations

257.   Section 2: The Defendants’ price discrimination practices, particularly the zero-cost model for


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       Wi-Fi calling, distort the market and harm competition.

258.   Section 3: The Defendants’ exclusive dealing arrangements prevent smaller competitors from

       entering the market, substantially lessening competition.

259.   Section 7: The Defendants’ mergers and acquisitions have further entrenched their monopolistic

       control, creating additional barriers to market entry and lessening competition.

260.   The Plaintiffs have clearly demonstrated the requisite standing under Article III of the class and

       have substantiated their claims of violations under the Sherman and Clayton Acts. The economic

       losses, inflated prices, and diminished market competition suffered by the Plaintiffs are directly

       attributable to the Defendants’ anticompetitive conduct. The Court’s intervention is imperative to

       restore competitive market conditions, provide compensation for the harm inflicted, and prevent

       future violations of antitrust laws.



        ARBITRATION CLAUSE IN SUBSCRIBER AGREEMENTS IS UNENFORCEABLE


261.   The Defendants, including major telecommunications carriers, incorporate mandatory arbitration

       clauses within their customer contracts. These clauses are designed to compel subscribers to

       resolve disputes through arbitration, effectively barring them from pursuing litigation in court.

       However, given the Defendants’ bad faith actions, anticompetitive conduct, and deceptive

       practices, these arbitration clauses are rendered unenforceable.

             A. Invalidation of Arbitration Clauses

                 1. Bad Faith and Anticompetitive Conduct

262.   The Defendants, who dominate over 97% of the mobile telephony market, have engaged in bad

       faith by misleading subscribers regarding the true costs associated with Wi-Fi calling. This lack

       of transparency breaches the principle of good faith inherent in contractual agreements, thereby


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       invalidating the arbitration clauses. Furthermore, their monopolistic behavior, including price-

       fixing and exclusionary tactics, violates Sections 1 and 2 of the Sherman Act, as well as Sections

       2, 3, and 7 of the Clayton Act.

                 2. Deceptive Conduct

263.   The Defendants have misrepresented Wi-Fi calling as a free service, while covertly imposing

       hidden costs on subscribers through bundled service plans. This deception shifts financial burdens

       onto consumers while the Defendants reap operational savings without passing any benefits to

       the subscribers. Such conduct fundamentally undermines the validity of the arbitration clauses.

                 3. Fraudulent Misrepresentation

264.   By falsely promoting Wi-Fi calling as cost-free and concealing the true financial implications,

       the Defendants have engaged in fraudulent misrepresentation. Arbitration clauses embedded in

       contracts obtained through deceitful practices are invalid, as subscribers were misled into

       agreeing to these terms.

                 4. Breach of Duty of Disclosure

265.   The Defendants have failed to disclose critical information regarding the actual costs of Wi-Fi

       calling, violating their duty of good faith and fair dealing. This breach further invalidates the

       arbitration clauses, as subscribers were not fully informed at the time of agreement.

             B. Relevant Court Rulings

266.   In Achey v. Cellco Partnership (Verizon Wireless), involving one of the same Defendants in

       this case, the court ruled that Verizon’s arbitration clause was unenforceable due to its

       unconscionable provisions, including restrictive notification requirements and limitations on

       damages. This ruling highlights how arbitration clauses can be invalidated when they unfairly

       restrict consumer rights.



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267.   This precedent is particularly significant in the current case, where the Defendants’ intentional

       deception and anticompetitive practices further justify the invalidation of these arbitration

       clauses. Given Verizon’s history and the context of this case, the Plaintiffs’ claims merit full

       adjudication in the court system, ensuring that the Defendants’ conduct is thoroughly examined

       and justice is appropriately served.



                      CLASS ACTION ALLEGATIONS AND CERTIFICATION


268.   Plaintiffs seek class certification under Rule 23 of the Federal Rules of Civil Procedure for the

       class harmed by the Defendants’ anticompetitive conduct, fraudulent misrepresentation, and

       deceptive practices. The proposed class meets the required certification criteria, supported by

       directly relevant legal precedents.

             A. Certification Criteria with Direct Legal Support

269.   Numerosity: The class includes thousands or millions of members, making individual lawsuits

       impractical. This satisfies the numerosity requirement, as established in Amchem.

270.   Commonality: Common legal and factual questions, such as Defendants’ fraudulent

       misrepresentation, antitrust violations, and financial harm, predominate. This mirrors the

       commonality principle highlighted in Dukes.

271.   Typicality: The claims of the named Plaintiffs reflect the uniform impact of Defendants’ conduct

       across the class, aligning with the standards set in Comcast.

272.   Adequacy: Plaintiffs and their counsel can adequately protect the interests of the class, consistent

       with the adequacy requirement recognized in Tyson Foods.

273.   Superiority: A class action is superior to individual litigation for efficiently addressing the

       widespread harm caused by Defendants’ conduct, as supported by Amchem and Comcast.


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             B. Class Definition and Link to Precedents

274.   General Subscribers Class. Precedent: Comcast Corp. v. Behrend (2013). The approximately

       373 million major carrier subscribers suffered uniform financial harm due to Defendants’

       deceptive practices, warranting a class-wide resolution of their claims, similar to Comcast.

             C. Request for Certification and Judicial Action

275.   Given the direct harm to the Plaintiffs and each of the class members through significant

       economic losses, fraudulent misrepresentation, and antitrust violations, this action should be

       certified as a class action under Rule 23. The Plaintiffs have demonstrated that the class meets

       the numerosity, commonality, typicality, and adequacy requirements, with strong precedent

       support for certification. Judicial certification will ensure that all affected parties receive redress

       and that Defendants are held accountable for their unlawful conduct.

             D. Inclusion of Deutsche Telekom AG in Antitrust Complaints: A Necessary

                 Component

276.   The Plaintiffs’ decision to include Deutsche Telekom AG as a Defendant alongside AT&T,

       Verizon, and T-Mobile US is both justified and essential for a comprehensive examination of the

       alleged anticompetitive practices in the U.S. telecommunications market. The rationale for this

       inclusion is as follows:


         •   Substantial Ownership Stake: Deutsche Telekom AG holds a majority ownership stake

             in T-Mobile US. This controlling interest provides Deutsche Telekom with considerable

             influence over T-Mobile’s strategic decisions and operational policies.

         •   Board Representation: The Board of Deutsche Telekom AG (DT) consists of seven

             members, while T-Mobile US, Inc. (TM) has thirteen. Notably, four key members—




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             Thorsten Langheim, Dominique Leroy, Srini Gopalan, and Christian P. Illek—serve on

             both boards, indicating significant influence from the parent company on T-Mobile’s

             operations. Additionally, Timotheus Höttges, who is the Chief Executive Officer of

             Deutsche Telekom, also serves as the Chairman of T-Mobile’s Board, further

             consolidating the strong management and strategic control exercised by the parent

             company over its subsidiary.

         •   Strategic Influence: Through its substantial ownership and significant board

             representation, Deutsche Telekom plays a critical role in shaping T-Mobile’s market

             behavior, directly impacting competition and consumer costs.

         •   Legal Basis for Inclusion: Including Deutsche Telekom AG in the complaint is legally

             justified due to:

                 o   Market Impact: Deutsche Telekom’s significant ownership stake in T-Mobile

                     influences the company’s market practices and competitive strategies.

                 o   Corporate Governance: Deutsche Telekom’s board representation grants it

                     direct authority over key corporate decisions, particularly in areas such as service

                     bundling and pricing.


277.   Furthermore, it is important to note that Deutsche Telekom AG’s business model extends beyond

       its involvement with T-Mobile US. In Germany, Deutsche Telekom operates under a similar

       framework where Wi-Fi calling is tied to cellular services, and mobile data is bundled with

       cellular plans, without offering standalone options. This practice reflects a consistent strategy of

       tying and bundling services.

278.   Deutsche Telekom AG’s MVNOs across Europe also adhere to this restrictive model. These

       MVNOs do not offer Wi-Fi calling or mobile data as standalone services, maintaining the same



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       bundling practices observed in Deutsche Telekom AG’s core operations.

279.   This consistent approach across multiple markets reinforces the necessity of including Deutsche

       Telekom AG in the antitrust complaints. It demonstrates a pattern of anticompetitive behavior

       that spans multiple markets and affects a broad spectrum of consumers).



               PIERCING THE CORPORATE VEIL AND DIRECTORS’ LIABILITY


280.   This action confronts the Defendants’ systematic fraudulent misrepresentation, deceit, and

       anticompetitive practices concerning Wi-Fi calling and mobile data services. These actions

       constitute clear violations of key antitrust laws, specifically Sections 1 and 2 of the Sherman Act

       and Sections 2, 3, and 7 of the Clayton Act. Due to the deliberate and pervasive nature of these

       violations, it is imperative to pierce the corporate veil and hold the Directors personally

       accountable.

             A. Anticompetitive Conduct and Fraudulent Misrepresentation

281.   The Defendants, controlling over 97% of the U.S. mobile telecommunications market, have

       leveraged their market dominance to engage in anticompetitive practices, including the following.

282.   Tying and Forced Sales: The Defendants violated Sherman Act §1 and Clayton Act §3 by

       bundling Wi-Fi calling services with cellular services, coercing consumers into purchasing

       unwanted services.

283.   Monopolization: The Defendants breached Sherman Act §2 by strategically preventing

       competition and maintaining dominance over the Wi-Fi calling market.

284.   Price Fixing and Predatory Pricing: The Defendants engaged in price manipulation in violation

       of Sherman Act §1, offering Wi-Fi calling at no additional cost while charging for cellular

       services, thereby misleading subscribers into believing they were benefiting financially.


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285.   Unlawful Mergers and Acquisitions: The Defendants breached Clayton Act §7 by

       consolidating market control through acquisitions, eliminating potential competitors, and erecting

       barriers to market entry.

             B. Justification for Piercing the Corporate Veil

286.   The Directors of the Defendant corporations were not only aware of but actively participated in

       these fraudulent and anticompetitive practices. Their direct involvement in these actions warrants

       piercing the corporate veil due to:

287.   Unity of Interest and Ownership: The Directors’ participation on these fraudulent and

       anticompetitive practices appears as if the Directors operated the corporations as mere extensions

       of their personal interests, aligning corporate actions with personal gain, and effectively using the

       corporations as alter egos.

288.   Fraudulent Intent: The Directors’ participation on these fraudulent and anticompetitive

       practices appears as if the Directors employed the corporate structure to perpetrate fraud, mislead

       consumers, and violate antitrust laws, specifically under Sherman Act §§1 and 2 and Clayton Act

       §§2, 3, and 7.

289.   Unjust Enrichment: Allowing the corporate veil to remain intact would enable the Directors to

       unjustly retain personal profits derived from their fraudulent and anticompetitive activities,

       resulting in a gross miscarriage of justice.

             C. Precedent Cases

290.   Perma Life Mufflers, Inc. v. International Parts Corp., 392 U.S. 134 (1968): Established that the

       corporate veil could be pierced to hold individual directors and officers liable for antitrust

       violations, including tying arrangements and monopolistic practices under Sherman Act §§1 and

       2 and Clayton Act §3.


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291.   United States v. Wise, 370 U.S. 405 (1962): Demonstrated that corporate officers could be

       personally liable under Sherman Act §1 if they knowingly engaged in illegal antitrust activities.

292.   Basic Inc. v. Levinson, 485 U.S. 224 (1988): Highlighted that the omission of material facts, such

       as the true costs of Wi-Fi calling, can constitute fraud, supporting claims under Sherman Act §2.

293.   In re Caremark International Inc. Derivative Litigation, 698 A.2d 959 (Del. Ch. 1996):

       Established the duty of directors to implement monitoring systems to ensure compliance with

       legal obligations. The failure to do so, as evidenced in this case, represents a breach of fiduciary

       duties under Sherman Act §2 and Clayton Act §7.

             D. Weighing the Evidence

294.   The Directors’ active involvement in fraudulent, deceptive, and anticompetitive practices justifies

       piercing the corporate veil. Their conduct, which directly violates Sherman Act §§1 and 2 and

       Clayton Act §§2, 3, and 7, necessitates holding them personally liable. The Court should impose

       liability for all damages incurred by the Plaintiffs, including both compensatory and punitive

       damages, to ensure justice is served, market integrity is restored, and future corporate misconduct

       is effectively deterred.



         COMPARATIVE ANALYSIS: UNITED STATES V. GOOGLE LLC AND UNITED

                         STATES V. MICROSOFT CORP, AND THE COUNTS


        United States v. Google LLC, United States v. Microsoft Corp., and this Antitrust Class
                                               Action
             A. Overview of Cases

295.   This Antitrust Class Action: Monopolistic practices in telecom services through tying

       arrangements and exclusionary conduct.




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       i.)     Defendants: Major telecommunications carriers (AT&T, Verizon, T-Mobile, and

               Deutsche Telekom).

       ii.)    Key Issue: Tying Wi-Fi calling to cellular and texting services, preventing the offering

               of standalone Wi-Fi calling.

       iii.)   Violations:

               •       Sherman Act: Section 1 (Restraint of Trade), Section 2 (Monopolization).

               •       Clayton Act: Section 3 (Exclusive Dealing), Section 7 (Mergers and

                       Acquisitions

296.   United States v. Google LLC: Monopoly maintenance through exclusionary contracts and tying

       practices in digital markets.

       i.)     Defendant: Google.

       ii.)    Key Issue: Tying Google Search and Chrome to Android OS, exclusive contracts.

       iii.)   Violations:

               •       Sherman Act: Section 1 (Restraint of Trade), Section 2 (Monopolization).

297.   United States v. Microsoft Corp: Monopolistic practices through tying and exclusionary

       conduct in software markets.

       i.)     Defendant: Microsoft.

       ii.)    Key Issue: Tying Internet Explorer to Windows OS.

       iii.)   Violations:

               •       Sherman Act: Section 1 (Restraint of Trade), Section 2 (Monopolization).

               B. Comparative Analysis

                   1. Scope of Anticompetitive Conduct

298.   Wi-Fi Calling Class Action: Encompasses a broader array of anticompetitive practices,



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       including tying, exclusive dealing, and anticompetitive mergers.

299.   Google: Focuses on exclusionary contracts and tying in digital markets.

300.   Microsoft: Primarily centered on tying and exclusionary practices in software distribution.

                 2. Market Power Abuse

301.   Wi-Fi Calling Class Action: Exploits control over cellular infrastructure to dominate the

       emerging Wi-Fi calling market.

302.   Google: Leverages its search engine dominance to control adjacent markets like mobile OS and

       digital advertising.

303.   Microsoft: Utilized its OS monopoly to dominate the web browser market.

                 3. Consumer Impact

304.   Wi-Fi Calling Class Action: Directly impacts consumer choice in essential communication

       services, leading to inflated costs and limited options.

305.   Google: Affects consumer access to digital services and information.

306.   Microsoft: Restricted consumer choice in web browsers and software applications.

                 4. Innovation Suppression

307.   Wi-Fi Calling Class Action: Stifles the development of standalone Wi-Fi calling technologies,

       hindering innovation.

308.   Google: Restricts innovation in search technologies and mobile applications.

309.   Microsoft: Hampered browser innovation and the development of web standards.

                 5. Market Structure Effects

310.   Wi-Fi Calling Class Action: Affects the structure of both cellular and internet-based

       communication markets, leading to increased consolidation.

311.   Google: Influences the digital advertising, search, and mobile OS markets.




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312.       Microsoft: Impacted the PC operating system and web browser markets.

                     6. Legal Precedent Significance

313.       Wi-Fi Calling Class Action: Has the potential to set new precedents in telecom antitrust law,

           particularly concerning emerging technologies.

314.       Google: Establishes modern precedents for antitrust enforcement in digital markets.

315.       Microsoft: Provided foundational precedents for antitrust actions in software and tech industries.

                     7. Regulatory Intersections

316.       Wi-Fi Calling Class Action: Engages with FCC regulations and broader telecom laws.

317.       Google: Involves considerations of digital privacy and data protection.

318.       Microsoft: Focused on software and OS regulations.

                 C. Weighing the Evidence

319.       An intellectual property licensing business recently filed yet another suit against AT&T, Verizon,

           T-Mobile, and Deutsche Telekom, this time accusing the Defendants of wielding their market

           power and conspiring to refuse to license innovative 4G and 5G wireless communications system

           technology. Celerity IP LLC, along with patent owners Asus Technology Inc. and Innovative

           Sonic Ltd., said it had tried to work with AT&T, Verizon, T-Mobile, and Deutsche Telekom to

           license patents covering the technology. However, the Defendants refused, according to the

           complaint filed in Texas state court. The complaint states that “[i]nstead, the service providers

           have entered into a contract, combination or conspiracy to unreasonably restrain trade and impose

           a group boycott on Plaintiffs.”2

320.       Celerity, Innovative, and Asus have already filed a myriad of patent infringement claims against



       2
        The case is Celerity IP LLC et al. v. AT&T Corp. et al., case number unknown, in the District
       Court for Dallas County, Texas. See also https://www.law360.com/articles/1859384/.

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       the telecommunications companies. In six separate suits filed in Texas federal court, Celerity,

       Innovative, and Asus claimed that they had tried to grant all three companies fair, reasonable, and

       nondiscriminatory licenses to use the patents in question. However, the Defendants declined the

       offer and continued to use methods covered by the patents without authorization.

321.   The Defendants here also have entered into a contract, combination, or conspiracy to

       unreasonably restrain trade and impose a group boycott on any competitor with patents,

       technology, and know-how related to Wi-Fi calling and texting technologies. The Defendants

       have continued to use patents, technologies, and know-how without authorization. This Antitrust

       class action is also different and more egregious than the patent disputes of Celerity, Innovative,

       and Asus because the Defendants anticompetitive and anticonsumer conduct has broader

       implications beyond intellectual property disputes, directly the Defendants’ own subscribers. The

       Defendants have conspired to monopolize technology and know-how, injuring the Defendants’

       own subscribers.

322.   Breadth of Violations: This Antitrust Class Action is particularly significant for its alleged

       violations across both the Sherman and Clayton Acts. Unlike the Google and Microsoft cases,

       which primarily focused on Sherman Act violations, this case encompasses a wider range of

       anticompetitive practices, including exclusive dealing and potentially anticompetitive mergers.

323.   Evolving Market Dynamics: This Antitrust Class Action represents a crucial phase of antitrust

       enforcement in the telecommunications industry. As traditional telecom providers grapple with

       the convergence of internet-based communication technologies, their attempts to bundle services

       and maintain market dominance are under increased scrutiny. The Antitrust Class Action could

       establish critical precedents that will shape the regulatory landscape for telecom and related

       industries in the future.




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324.   Consumer Welfare and Market Structure: The direct impact on consumer choice in essential

       communication services could resonate more strongly with courts and regulators. The case

       emphasizes how the bundling practices of telecom giants stifle competition, limit consumer

       options, and inflate costs—issues central to antitrust law. The outcome of this case could have

       significant implications not just for the telecommunications sector but for how emerging

       technologies are integrated into existing market structures.

325.   While the Google and Microsoft antitrust cases were landmark decisions that set important

       precedents in the digital and software markets, this Antitrust Class Action has the potential to be

       even more consequential. Its broader scope of alleged violations and its focus on critical

       communication infrastructure position it as a pivotal case that could redefine antitrust law’s

       application in the telecommunications industry. The outcome may influence not only the future

       of consumer communication services but also determine the adaptability of antitrust laws to the

       rapid technological advancements reshaping global markets.


                                               THE COUNTS


326.   This case involves anticompetitive conduct and unauthorized use of technology by the

       Defendants, violating the Sherman and Clayton Acts. Plaintiffs and the Class members have

       suffered due to tying arrangements, price discrimination, monopolistic practices, and conspiracies

       that restrain trade in the mobile voice calling and text messaging markets. The Defendants have

       engaged in two forced bundles: (1) Wi-Fi calling tied to cellular calling and texting, and (2)

       mobile data bundled with cellular calling and texting. These practices have caused significant

       economic harm to the Plaintiffs, the General Subscribers Class, and potentially additional

       consumers in the marketplace.




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             A. COUNT I: Monopolization and Attempts to Monopolize (Sherman Act §2)

327.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

328.   Monopoly Power: The Defendants possess monopoly power in the Wi-Fi calling and mobile data

       markets, stemming from their dominant market share and control over critical infrastructure.

329.   Exclusionary Conduct: The Defendants maintain and reinforce their monopoly power through

       exclusionary practices, including tying, forced sales, and predatory pricing. These actions are

       designed to eliminate competition and solidify their market dominance, constituting a clear

       violation of Sherman Act §2. Precedent Case: United States v. Grinnell Corp., 384 U.S. 563

       (1966). The Supreme Court established that monopolization requires both monopoly power in the

       relevant market and the willful acquisition or maintenance of that power. The Defendants’ actions

       in this case align with this precedent by maintaining monopoly power through anticompetitive

       practices.

             B. COUNT II: Tacit Collusion (Clayton Act §7)

330.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

331.   Monopoly Power: The Defendants’ significant market share allows them to engage in tacit

       collusion, coordinating actions without explicit agreements, which leads to reduced competition

       and consumer harm.

332.   Tacit Collusion: The Defendants’ coordinated pricing and service strategies, without explicit

       agreement, and effectively restrained trade, violating Clayton Act §7. Precedent Case: American

       Tobacco Co. v. United States, 328 U.S. 781 (1946). The Supreme Court found that tacit collusion

       among major market players can violate antitrust laws. The Defendants’ coordinated efforts to

       avoid competition in this case mirror the collusion identified in the American Tobacco case.




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             C. COUNT III: Restraint of Trade (Sherman Act §1)

333.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

334.   Monopoly Power: The Defendants leverage their market control to engage in practices that

       unreasonably restrain trade.

335.   Contracts and Conspiracies: The Defendants have entered into agreements that stifle

       competition and limit consumer choice, in direct violation of Sherman Act §1. Precedent Case:

       Northern Pacific Railway Co. v. United States, 356 U.S. 1 (1958): The Supreme Court held that

       agreements unreasonably restraining trade are per se violations of the Sherman Act. The

       Defendants’ bundling practices in this case are consistent with the restraints on trade identified in

       Northern Pacific

             D. COUNT IV: Tying (Clayton Act §3)

336.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

337.   Monopoly Power: The Defendants exploit their market dominance to force consumers into

       purchasing bundled services.

338.   Tying and Tied Products: The Defendants have tied Wi-Fi calling to cellular services and

       mobile data to cellular calling, restricting consumer choice and violating Clayton Act §3.

       Precedent Case: Jefferson Parish Hospital District No. 2 v. Hyde, 466 U.S. 2 (1984). The

       Supreme Court ruled that tying arrangements, where the sale of one product is conditioned on the

       purchase of another, can violate antitrust laws. The Defendants’ practices in this case fit within

       the illegal tying framework established by Jefferson Parish.

             E. COUNT V: Forced Sale (Clayton Act §3)

339.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

340.   Monopoly Power: The Defendants coerce consumers into purchasing unwanted services through


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       forced bundling.

341.   Forced Sales: Their bundling practices compel consumers to buy more than they need, violating

       Clayton Act §3. Precedent Case: Standard Oil Co. of California v. United States, 337 U.S. 293

       (1949). The Supreme Court found that forcing consumers into purchasing additional products

       through monopolistic power constitutes a violation of the Clayton Act. The Defendants’ forced

       bundling practices are analogous to those condemned in Standard Oil.

             F. COUNT VI: Price Fixing (Clayton Act §2)

342.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

343.   Monopoly Power: The Defendants conspire to set prices for bundled services, thereby harming

       market competition.

344.   Price Fixing: The Defendants’ coordinated pricing strategies lead to inflated prices, violating

       Clayton Act §2. Precedent Case: United States v. Socony-Vacuum Oil Co., 310 U.S. 150 (1940).

       The Supreme Court ruled that price fixing is per se illegal under the Sherman Act. The

       Defendants’ coordinated pricing strategies in this case align with the framework of illegal price

       fixing established by Socony-Vacuum.

             G. COUNT VII: Predatory Pricing (Clayton Act §2)

345.   Plaintiffs re-allege and incorporate by reference herein all the allegations contained above.

346.   Monopoly Power: The Defendants engage in predatory pricing to eliminate competitors and

       consolidate their market dominance.

347.   Below-Cost Pricing: They offer services at no additional cost to drive out competition, violating

       Clayton Act §2. Precedent Case: Brooke Group Ltd. v. Brown & Williamson Tobacco Corp.,

       509 U.S. 209 (1993). The Supreme Court defined predatory pricing and its implications under the

       Sherman Act, establishing that pricing below cost to eliminate competitors is unlawful. The


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       Defendants’ practices in this case are consistent with the predatory pricing identified in Brooke

       Group.

             H. Weighing the Evidence

348.   The Defendants’ anticompetitive conduct, including compulsory bundling, predatory pricing, and

       price fixing, clearly violates multiple provisions of both the Sherman and Clayton Acts. The

       overwhelming evidence justifies not only treble damages but also strong injunctive relief to

       restore competition and prevent future violations. The Defendants’ actions, supported by the

       directly applicable precedent cases, underscore the necessity of legal intervention to correct these

       injustices and protect consumer welfare

             I. Comparative Analysis of Seven Counts: This Antitrust Class Action, The Google

                 Case, and The Microsoft Case

                 1. Count I: Monopolization (Sherman Act §2)

349.   Google Case: Google maintained a monopoly through anticompetitive means, including

       exclusive agreements that foreclosed competition.

350.   Microsoft Case: Microsoft maintained its monopoly in the PC operating systems market through

       exclusionary practices.

351.   Antitrust Class Action: The monopolistic practices in all three cases demonstrate systemic abuse

       of market dominance. However, the class action case highlights broader coordination among

       major telecom players, indicating more extensive antitrust violations.

                 2. Count II: Tacit Collusion (Clayton Act §7)

352.   Google Case: The court focused on exclusionary practices rather than explicit tacit collusion.

353.   Microsoft Case: While not explicitly addressing tacit collusion, the Microsoft case involved

       coordinated actions to suppress competition.


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354.   Antitrust Class Action: The recognition of exclusionary practices in both Google and Microsoft

       cases supports the claims of tacit collusion in the Wi-Fi Calling Class Action. The Defendants’

       coordinated efforts to maintain market dominance echo the monopolistic behaviors seen in both

       tech giants’ cases.

                 3. Count III: Restraint of Trade (Sherman Act §1)

355.   Google Case: The court found Google’s agreements stifled competition.

356.   Microsoft Case: The tying of Internet Explorer to Windows OS was a key example of restraining

       trade.

357.   Antitrust Class Action: Like Google and Microsoft, the Wi-Fi Calling Class Action illustrates

       how the Defendants’ contracts and conspiracies have significantly restrained trade, limiting

       consumer choices and inflating prices in the telecommunications market.

                 4. Count IV: Tying (Clayton Act §3)

358.   Google Case: The court noted potential Clayton Act violations through exclusionary agreements.

359.   Microsoft Case: Tying Internet Explorer to Windows OS was a central issue, leading to

       significant antitrust findings.

360.   Antitrust Class Action: The tying practices in all three cases demonstrate significant

       anticompetitive effects. The class action case emphasizes how such practices have been

       extensively used by telecom giants to control emerging technologies.

                 5. Count V: Forced Sale (Clayton Act §3)

361.   Google Case: The court noted the impact of Google’s revenue-sharing agreements in entrenching

       its monopoly.

362.   Microsoft Case: While forced sale was not a primary focus, Microsoft’s bundling practices

       echoed similar tactics.




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363.   Antitrust Class Action: The class action case’s focus on forced sales through bundling mirrors

       the tactics seen in Google’s and Microsoft’s cases, underscoring the coercive strategies used to

       maintain market control.

                 6. Count VI: Price Fixing (Clayton Act §2)

364.   Google Case: The court addressed Google’s ability to raise prices due to its monopoly.

365.   Microsoft Case: Price manipulation was a concern, though not the central issue.

366.   Antitrust Class Action: Price-fixing concerns in the class action case resonate with issues in

       Google’s case, highlighting the broader impacts of monopolistic control on pricing within the

       telecommunications sector.

                 7. Count VII: Predatory Pricing (Clayton Act §2)

367.   Google Case: The court did not explicitly address predatory pricing.

368.   Microsoft Case: Predatory practices were scrutinized, particularly regarding market dominance.

369.   Antitrust Class Action: The class action case’s emphasis on predatory pricing reflects aggressive

       strategies to eliminate competition, a tactic also scrutinized in Microsoft’s case, highlighting the

       broader implications for market competition.

                 8. Conclusion

370.   The comparative analysis between this Antitrust Class Action, United States v. Google LLC, and

       United States v. Microsoft Corp. reveals a comprehensive approach to addressing monopolistic

       practices across different industries. This Antitrust Class Action, with its extensive scope,

       highlights a more complex set of antitrust violations that span multiple sections of both the

       Sherman and Clayton Acts. Unlike the Google and Microsoft cases, which primarily focused on

       Sherman Act violations, the class action case addresses a wider array of anticompetitive practices,

       including exclusive dealing, tying, and price fixing. This suggests a more pervasive set of




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       monopolistic practices within the telecommunications industry.



                                         DEMAND FOR JURY TRIAL


371.   Under Rule 38 of the Federal Rules of Civil Procedure and Local Rule 38(a), Plaintiffs demand

       a trial by jury on all issues so triable.



                                 PROPOSED CLASS RESTITUTION PLAN


372.   The Defendants—AT&T, Verizon, T-Mobile, and Deutsche Telekom—are collectively

       extracting $268.56 billion annually from 373 million major carrier subscribers. Despite their

       massive yearly revenue, these companies continue to deny consumers the option of more

       affordable standalone Wi-Fi calling and mobile data services. Instead, they compel customers to

       purchase costly bundled services filled with unnecessary features. This practice not only unfairly

       inflates consumer costs but also stifles competition in the market. The Defendants’ actions reflect

       a disregard for consumer choice and fairness, warranting urgent regulatory action to protect

       consumers and restore competitive balance in the telecommunications industry.

                 A. Restitution Proposal Overview

373.   The Defendants’ actions, including fraudulent misrepresentation, deceit, and lack of transparency,

       have caused substantial damages to consumers over a five-year period. Below is a detailed

       breakdown of the damages calculation and the proposed restitution plan.

                    1.   Calculation of Annual Cost Per Subscriber

            i.      Average Monthly Cost Per Subscriber: $50

           ii.      Annual Cost Per Subscriber: $50 x 12 = $600




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374.   This represents the baseline average cost paid by each subscriber annually for their

       telecommunications services.




                  2. Additional Unjust Enrichment

            i.    Additional Unjust Enrichment Per Month: $10

           ii.    Additional Unjust Enrichment per Year: $120

          iii.    Total Annual Impact Per Subscriber: $600 (annual cost) + $120 (unjust enrichment) =

                  $720

375.   The $120 represents the excess amount charged to subscribers due to the Defendants’ anti-

       competitive practices.

                  3. Total Impact Over Five Years

            i.    Total Impact Over Five Years Per Subscriber: $720 x 5 = $3,600

376.   This figure represents the cumulative financial impact on each subscriber over the five-year

       period due to the Defendants’ actions.




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                    4. Proposed Restitution Plan

            i.      MANDATE a $144 annual bill reduction ($12 per month) for each affected

                    subscriber for five consecutive years.

           ii.      Total Restitution Per Subscriber: $144 x 5 years = $720

377.   Instead of demanding the payment of total cash damages upfront, the proposed restitution plan

       aims to provide a fair and sustainable remedy by reducing each affected subscriber’s bill by $144

       annually for five years. The TOTAL amount is intended to compensate subscribers for the

       overcharges, with a moderate and fair approach that balances the need for consumer relief with

       the financial stability of the Defendants.

                    5. Basis for the Restitution Calculation

            i.      20% of the $600 Annual Cost: $600 x 20% = $120 per year

           ii.      Total Restitution Over Five Years = $120 x 5 Years = $600

          iii.      Additional $120 for Unjust Enrichment: $600 + $120 = $720 Total Restitution per

                    Subscriber. This restitution amount should be deemed to account for overcharges,

                    plus the unjust enrichment, ensuring that the restitution is aligned with the

                    Defendants’ unjust gains.

           iv.      One Year of Restitution Paid Over Five Years: $720 ÷ 5 years = $144 Restitution per

                    Year per Subscriber ($12 per Month per Subscriber).

                 B. Nationwide Impact and Justification

378.   Estimated Affected Subscribers: 373 million major carrier subscribers nationwide. Total

       Restitution Value: $144 per year per subscriber x 5 years x 373 million major carrier subscribers

       = $268.56 billion.

379.   This figure represents the total amount of the proposed bill reductions across the entire subscriber



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       base over five years. It is a substantial but fair figure that reflects the magnitude of the damages

       without demanding an immediate cash outlay from the Defendants.

             C. Legal and Economic Rationale

380.   This restitution plan, amounting to $268.56 billion over five years, is designed to ensure that the

       Defendants can continue to operate while providing fair compensation to affected consumers.

       The proposal allows the Defendants to meet their obligations through bill reductions rather than

       an immediate cash payment, which is more sustainable and less disruptive to their financial

       stability. The structured approach ensures that consumers are compensated fairly, while

       maintaining the financial health of the telecommunications industry.

381.   The Court is urged to consider this reasonable and balanced approach to restitution, which aims

       to correct the Defendants’ anti-competitive practices without causing undue financial strain. By

       mandating this restitution, the Court would set a precedent that protects consumer rights, fosters

       competition, and ensures accountability in the telecommunications market.

             D. Ensuring Fair Restitution and Market Stability

382.   The proposed restitution plan of $144 per subscriber annually ($12 per month) over five years

       ($720 per subscriber), totaling $268.56 billion, is a fair and reasonable solution to address the

       damages caused by the Defendants. It ensures that consumers are compensated for the

       overcharges and that the Defendants continue to operate without facing an insurmountable

       financial burden. This approach aligns with market analysis, which suggests that such a structured

       restitution plan is more equitable and sustainable, providing a clear path forward benefitting both

       consumers and the telecommunications industry as a whole.




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              E. Comparison to Landmark Cases for the Antitrust Class Action

                 1.   Payment Card Interchange Fee and Merchant Discount Antitrust Litigation:

383.   Class Size: Over 12 million merchants.

384.   Settlement: Approximately $6.24 billion.

385.   Scale Comparison: The current Antitrust Class Action, with a restitution demand of $268.56

       billion, is over 43 times larger.

386.   Type: Antitrust litigation.

                 2. Tobacco Antitrust Litigation

387.   Class Size: Approximately 46 million tobacco consumers nationwide.

388.   Settlement: The tobacco industry settled for $206 billion over 25 years.

389.   Scale Comparison: The current Antitrust Class Action is nearly 1.3 times larger.

390.   Type: Antitrust litigation.

                 3. Visa and MasterCard Antitrust Litigation

391.   Class Size: Around 10 million cardholders.

392.   Settlement: Approximately $3 billion.

393.   Scale Comparison: The current Antitrust Class Action is an astounding 89.5 times larger.

394.   Type: Antitrust litigation.

              F. A Call for a Landmark Judgment

395.   In light of the unprecedented scale, robust legal precedents, and global implications of this case,

       the Court is presented with a historic opportunity to redefine antitrust enforcement in the digital

       age.




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                                     PRAYER FOR RELIEF


WHEREFORE, Plaintiffs, representing the class, pray for judgment against the Defendants,

jointly and severally, as follows:

I. Conduct Remedies

   1. Injunctive Relief: Issue an order enjoining Defendants from continuing their

       anticompetitive practices, including but not limited to illegal tying and bundling,

       exclusive dealing, price fixing, and predatory pricing strategies.

   2. Unbundling of Services:

           1. Wi-Fi Calling and Texting: Mandate the Defendants to immediately unbundle

               compulsory Wi-Fi calling and texting services from cellular calling and texting

               services, ensuring consumers can independently choose either or both of these

               services.

           2. Mobile Data Plans: Mandate Defendants the Defendants to immediately

               unbundle compulsory mobile data plans from cellular calling and texting services,

               ensuring consumers can independently choose either or both of these services.

   3. Third-Party Interoperability: Compel Defendants to facilitate third-party

       interoperability on native dialer and messaging applications for both Wi-Fi calling and

       mobile data services, fostering a competitive environment.

   4. Separate Service Purchase: Ensure Defendants allow subscribers to purchase Wi-Fi

       calling, mobile data, and texting as separate services from other networks.

   5. Disclosure and Compensation: Cease the offloading of cellular calls and data onto Wi-

       Fi networks without proper disclosure and compensation to subscribers, ensuring

       transparency and fairness.



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II. Monetary Damages


   1. Compensation for Financial Harm: Award damages to the Plaintiffs for the harm

      suffered due to the monopolistic bundling of Wi-Fi calling and texting services and

      mobile data services with cellular calling and texting services, including direct financial

      losses and market impacts.

   2. Damages for Price Fixing: Compensate the Plaintiffs for damages due to price fixing of

      Wi-Fi calling, mobile data, and texting services, including inflated costs and reduced

      service quality.

   3. Lost Opportunity and Value: Award damages for the loss of opportunity to market and

      use standalone Wi-Fi calling and mobile data services, and for the resulting loss of value.

   4. Enhanced Damages: Grant enhanced or treble damages as provided under 15 U.S.C. §

      15a, and supplemental damages for any continuing post-verdict anticompetitive conduct

      until the entry of final judgment.

   5. Reimbursement of Legal Costs: Order Defendants to cover all legal costs incurred by

      the Plaintiffs, ensuring full reimbursement for litigation expenses.


III. Treble Damages


   1. Deterrence of Further Violations: Award treble damages as stipulated in Section 4 of

      the Clayton Antitrust Act of 1914, codified at 15 U.S.C. § 15. This provision entitles

      Plaintiffs to recover three times the damages sustained, plus the cost of the suit, including

      reasonable attorney’s fees.




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IV. Behavioral Remedies


   1. Facilitation of Competition: Require Defendants to enable third-party interoperability

       on native dialers of smartphones for both Wi-Fi calling and mobile data services,

       promoting a competitive marketplace.

   2. Restoration of Competitive Conditions: Implement injunctive relief to restore

       competitive conditions in the relevant markets affected by the Defendants’ unlawful

       conduct.

   3. Structural Remedies: Consider structural relief, which may include the divestiture of

       certain business units or assets, to promote fair competition.


V. Restitution


   1. Monetary Restitution: Award restitution to the plaintiffs for harm, loss, and damage,

       including enhanced or treble damages as provided by 15 U.S.C. § 15a.

   2. Disgorgement of Profits: Mandate restitution after an accounting and disgorgement of

       profits unfairly earned due to misrepresentations that Wi-Fi calling and mobile data

       services are “free,” resulting in unjust enrichment.

   3. Restitution for Unjust Enrichment: ORDER the Defendants to implement the proposed

       class restitution plan and ENSURE the Defendants’ compliance with this restitution plan

       through appropriate monitoring and enforcement mechanisms.

   4. Restitution Plan Implementation: MANDATE a $144 annual bill reduction for each

       affected subscriber for five consecutive years.




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   5. Refunds for Overcharges: MANDATE refunds to subscribers for any overcharges on

      bundled services, calculated based on the difference between the standalone cost of Wi-Fi

      calling and texting service or mobile data services, and the bundled price.

   6. Debt Relief: MANDATE a debt relief program for affected subscribers who were

      burdened by excessive charges for bundled services, providing partial or full forgiveness

      of outstanding balances attributable to these charges.


VI. Criminal and Civil Penalties


   1. Imposition of Penalties: Order appropriate authorities to impose criminal and civil

      penalties on Defendants for antitrust and anticompetitive violations.

   2. Declaration of Violations: Declare that Defendants, in their capacity as board members,

      officers, and employees, have committed criminal violations of the Clayton and Sherman

      Acts, 15 U.S.C. §§ 14 and 1.


VII. Damages for Willful Antitrust Technology Misuse


   1. Compensation for Technology Misuse: Compensate for harm, loss, and damage

      resulting from Defendants’ breach of antitrust laws and misuse of Wi-Fi calling and

      texting technology and know-how.

   2. Disgorgement of Profits: Disgorge profits obtained from the misuse of Wi-Fi calling and

      texting technology and know-how.




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VIII. Extending the Damages Period


   1. Award Extended Damages: Award damages for the entire period of Defendants’

      fraudulent misrepresentation, deceit, and misleading conduct related to Wi-Fi calling

      services, extending beyond the standard 4-year statute of limitations, due to:


          •   The continuing nature of the Defendants’ violations;

          •   The active concealment of the true costs and nature of Wi-Fi calling services; and

          •   The delayed discovery of the fraudulent conduct by consumers and shareholders.


IX. Other Relief


   1. Prejudgment and Post-Judgment Interest: Award prejudgment and post-judgment

      interest on all damages awarded, at the highest rate allowable by law, to ensure full

      compensation for losses.

   2. Additional Remedies: Grant any other and further relief that the Court deems just and

      proper to address the full scope of harm and rectify the anticompetitive and fraudulent

      practices of the Defendants.

   3. Appointment of a Special Master: Appoint a Special Master to oversee the

      implementation of conduct remedies and ensure compliance with the Court’s orders.

   4. Periodic Audits and Compliance Reporting: Require Defendants to submit to periodic

      audits and compliance reporting by an independent third party approved by the Court.

   5. Consumer Education Programs: Mandate the funding and implementation of consumer

      education programs to inform consumers about their rights and the true nature of Wi-Fi

      calling services.



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         6. Public Acknowledgment: Require Defendants to issue public notices, approved by the

             Court, acknowledging their anticompetitive conduct and detailing the remedies being

             implemented.

         7. Permanent Injunction: Permanently enjoin Defendants from engaging in any future

             conduct that violates federal or state antitrust laws.

         8. Attorney’s Fees: Plaintiffs is seeking reimbursement for its attorneys’ fees and costs

             associated with pursuing this case.


                                                   CLOSING


396.   This case against AT&T, T-Mobile, Deutsche Telekom AG (Deutsche Telekom is the majority

       shareholder of T-Mobile US), and Verizon centers on dismantling their deeply entrenched,

       anticompetitive business practices. At the heart of this case lies the forced bundling of Wi-Fi

       calling with cellular services and mobile data with texting, which has perpetuated an unfair

       market dominance. The Defendants’ practices have:

                 Suppressed competition by blocking standalone Wi-Fi calling and mobile data

                 services.

                 Inflated prices through mandatory bundled services, often at the consumer’s expense.

                 Hindered market innovation by barring new competitors.

                 Misled consumers about the true costs and benefits of these services.

397.   Unbundling these services is crucial for:

                 Empowering consumer choice by allowing tailored service selections.

                 Encouraging market competition, leading to lower prices and innovative offerings.

                 Promoting transparency in pricing, giving consumers clear cost insights.




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                 Ensuring fair infrastructure use, particularly in the offloading of cellular traffic onto

                 Wi-Fi networks.

398.   Plaintiffs request to the following action by the Court to provide remedy for these issues:

                 Issue injunctive relief to stop anticompetitive bundling.

                 Mandate the unbundling of Wi-Fi calling and mobile data from cellular services.

                 Require interoperability to allow third-party service integration.

                 Consider structural remedies, including potential divestitures, to restore competition.

                 Award damages to compensate for harm and deter future violations.

                 Ensure ongoing oversight to monitor compliance and maintain fair market practices.

399.   This case is not just about rectifying past wrongs but about setting a precedent that will foster a

       competitive, innovative, and consumer-focused telecommunications industry. The Court’s

       decision has the potential to reshape the market, ensuring that it operates on principles of fairness,

       innovation, and transparency, ultimately benefiting consumers and encouraging technological

       progress. The American people and telecommunications subscribers worldwide are watching

       with hope.




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Dated: August 17, 2024

                                       Respectfully submitted,

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